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                                                                                        -,_FILED _ENTERED
                         lN THE UNITEDSTATE 'DISDUCT CO:URt                             -LOGGED --RECEIVED
                            FOR THE DISTRICT OF MARYLAND
                                  SOUTHERN
                                        ,,  DIVISlON          '
                                                                                            NOV 20 2018
 FEDERAL TRADE COMMISSION
                                                                                   ay
                                                                                                                DEPutY
                         Plaintiff:.                              No:   1'8-c\(.,3309-PJM

         v.

 ECOLOGICAL FOX LLC et al.
                        Defendants.



         EXTENStON OF TEMPO~¥ MSTRAlNIN(i QRHERAI'JD INTERIM
                                   PRELMlNARY IN.JUNCTION
        Whereas, Plaintiff~ the Federal Ttade Com1nission ('FTC"), t)led its Complaint for

Permanent InJunction and Other Equitable Reliefpursuant to Section l3(b) oftheJedera] Trade

Commission Act ("FtC Act"), 15 U.S.C.        § 5:3(b\ and :tnove-d; pursuant to Fed. R. Civ, P. 65(b),
                                                                          '
fqr a temporary restnti'ning order, asset fr~ez~~ other equit~lble relief; and ·an ord¢r:to   sho\~i   cause.
why a: prcHminary injutiction should not issue against individual De:tendants Andiis PukkeiLuk~
Chadwick, John Usher, Rod Kazazi, Brandi Greeni1e1d,'Fran.k.Costattzo, and .D.eJendants Global

Pro petty AWat1ce;.Inc., Sittee Rive-r Wlldlif:c Res'erve; Buy Belize, LC; 13liY Jnternational, Inc,,
Foundation DtNelopmei1tM:anagemeut, lrtG,, Eco-Futures De,velopm.ent, E'co-Futll,r¢s BvHze
Lim1ted, 'Power Haus Marketing, Sanctuary Belize Property'Owners 1            Associatton~ iP.r6dii:W

Manag r.qe11t Gtoup LLC, 'F9u11dation J>adpers, BG Marketing, LLC, Ecologicai Fox; LLG,
Belize Real Esta,te Affiliates LLC, Exotic Investor LLC; Southern Belize R¢alty LLG,
(collectively, the ''Sanctuary Belize Enterprise" or "SBE"), and Atlantic Jnt€rnati.onal Bank Ltd.;

and relief defendants Angela Chittendetl, Beach Bunny El(:)ldings, LLC, the Estate of John Pukke,
John Vipi.1l:is, a~1d Deborah Copnelly;

        Whereas on :N0\ eb1 bet 5, 2018, the Court gtanted,'the FTC's .nmtioRanrl enfeh~d the E '

Parte Temporary Re~training Order \Vith Asset Freeze, Writs Ne E~eai, /\ppoini11[H:!nt qf a
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 Teb.1porary Receiver, and Other Eqtiitable Relict: and Order to Show Cause Wby a Pri!Hntinary
 Injunction Should Not lss\le ("TRO");

         Whereas; dh November 12~2018, the CQJll't ~ntered the. Drd~r. Amending Ex Parle
Temporary Restraining Order ("TRO Amendment'~);

         Whereas, the . FTC aqd the Repe-iver entered the defendant(     busi.nes~   premises on
November 7, 20 18; and found new evidence of the FTC's allegations ,and significant
corroboration, including d.ocuments showing the relevant 'individuals hiid tlw roles identified by
the FTC i11: its pleadings and telemarketing 'scripts shi:1wing the defendants were making the
relevant ciEiims to consumers;
        Whereas, .0onsidcring the flli11gs by the FTC artd the parties, the argl;l.OH~nts macje by the
parties during th~ November I 9; 2018 telephonic hearing, the equhies, and the F1'C's likelihood

·ofultiJ:nate success on the merits, an order extending the   tenus -9fth~   ':fRO, ~s a1nended by the
TRO Amendment; is h1 the pl,lhlic interest; ·a nd

        For rhe reasons stated on the record d11rlng the Nove.rnber J9, 2018i telephoniq hearing;
IT IS THEREFORE ORDERED:
        A.      The TRO ·and TRO Ame11dmentj which are ·attached to this          Order, shah remain ib
effect as an interin1 preliminary injunction through the con¢lusion ofJlhearing:to detennine
whether a prelim.irtar:y irtjuttction should issue in this matter, TMthec,1ring shal1 comiJ1¢n:ce ()Ii
Febtuary 1I, 2019.

        B.      The !bllowiri.g :schedule shall cipply to all proceedings in advance Qf this hearing:
                New Motions due:                        Deceniber 14, 20 l S
                Answers to theComplaintdue:             January J l ~ 2019
                Opp,o$iti<ms. to Motions du.e:          January 11,2019

                Motipri Replies due:                    January 25~ 20i9

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                'MotiQnsHea:ring:                         February h 40'19
                Pre4:Jt::arilig :c6nferehee~              Eebtuary. 5:~ 2tl19·
                Prel irhinary Jnj:um~fipn . Hearing;      February lJ, 2D~;~
The documents tfiatneedtttbe,:filed by December' 14~ 20 1::8~ ]nplude any n~W'!ll.PtiptJ.$ reJate·CI.t()
fhe.'fR(), $ :Well ai;a,n:y R.ulel2 motion~. The docqmel)ts ·that n~ei.t to be :filed by January il,
                 .                                                                                     '

2019.; include the.defendants' oppositions. to fuej?fC;·s. QUII'ently pendiq:g.n1otiott.for :_~
pt~lirninaty iniqJi~iQp;



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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND


FEDERAL TRADE COMMISSION

                      Plaintiff,

        v.                                                  Civil Action No:

ECOLOGICAL FOX, LLC, a Maryland limited liability
company, ·
                                                                  ({:'
                                                          (£aOOOSF:D] EX PARTE
LUKE CHADWICK, individually and as an officer or          TEMPORARY RESTRAINING
owner of Global Property Alliance, Inc. (also doing       ORDER WITH ASSET
business as Sanctuary Bay, Sanctuary Belize, The          FREEZE, WRITS NE EXEAT,
Reserve, Kanantik, Laguna Palms, Bamboo Springs, Eco      APPOINTMENT OF A
Futures, Eco Futures Development, Eco Futures Belize,     TEMPORARY RECEIVER,
Sittee River Wildlife Reserve, Buy Belize, Buy            AND OTHER EQUITABLE
International, and Buy Paradise), Sittee River Wildlife   RELIEF, AND ORDER TO
Reserve (also doing business as Sanctuary Bay, Sanctuary SHOW CAUSE WHY A
Belize, and The Reserve), Buy Belize, LLC (also doing     PRELIMINARY IN.JUNCTION
business as Sanctuary Bay, Sanctuary Belize, The          SHOULD NOT ISSUE
Reserve/Kanantik, Laguna Palms, and Bamboo Springs),
Buy International, Inc. (also doing business as Sanctuary [UNDER SEAL]
Bay, Sanctuary Belize, The Reserve, Kanantik, Laguna
Palms, and Bamboo Springs), Foundation Development        DO NOT DOCKET/
Management Inc., Eco Futures-Development (also doing      MOTION TO DELAY ECF
business as Sanctuary Bay, Sanctuary Belize, and The      PENDING
Reserve), Eco-Futures Belize Limited (also doing business
as Sanctuary Bay, Sanctuary Belize, and The Reserve),
Power Haus Marketing, Prodigy Management Group,
LLC, Belize Real Estate Affiliates, LLC (also doing
business as Coldwell Banker Belize and Coldwell Banker
Southern Belize), Exotic Investor, LLC (also doing
business as Coldwell Banker Belize and Coldwell Banker
Southern Belize), and Southern Belize Realty LLC (also
doing business as Coldwell Banker Belize and Coldwell
Banker Southern Belize),

ANDRIS PUK.KE, also known as Marc Romeo and Andy
Storm, individually and as an officer or owner of Global
Property Alliance, Inc. (also doing business as Sanctuary
Bay, Sanctuary Belize, The Reserve, Kanantik, Laguna
Palms, Bamboo Springs, Eco Futures, Eco Futures
Dcvclo me111' Eco Futures Belize, Sitte~ River .Wildlife
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Reserve Buy Belize, Buy International, and Buy
Paradise), Sittee River Wildlife Reserve (also doing
business as Sanctuary Bay, Sanctuary Belize, and The
Re~erve), Buy Belize, LLC (also doing business as
Sanctuary Bay, Sanctuary Belize, The Reserve, Kanantik,
Laguna Palms, and Bamboo Springs), Buy International,
Inc. (also doing business as Sanctuary Bay, Sanctuary
Belize, The Reserve, Kanantik, Laguna Palms, and
Bamboo Springs), Foundation Development Management
Inc., Eco Futures-Development (also doing business as
Sanctuary Bay, Sanctuary Belize, and The Reserve), Eco-
Futures Belize Limited (also doing business as Sanctuary
Bay, Sanctuary Belize, and The Reserve), Power Haus
Marketing, Prodigy Management Group, LLC, Belize
Real Estate Affiliates, LLC (also doing business as
Coldwell Banker Belize and Coldwell Banker Southern
Belize), Exotic Investor, LLC (also doing business as
Coldwell Banker Belize and Coldwell Banker Southern
Belize), and Southern Belize Realty LLC (also doing
business as Col,dwell Banker Belize and Coldwell Banker
Southern Belize),

PETER BAKER, individually and as an officer or owner
of Global Property Alliance, Inc. (also doing business as
San<;:tuary Bay, Sanctuary Belize, The Reserve, Kanantik,
Laguna Palms, Bamboo Springs, Eco Futures, Eco Futures
Development, Eco ;Futures Belize~ Sittee River Wildlife
Reserve, Buy Belize, Buy International, and Buy
Paradise), Sittee River Wildlife Reserve (also doing
business as Sanctuary Bay; Sanctuary Belize, and The
Reserve), Buy Belize, LLC (also doing business as
Sanctuary Bay, Sanctuary Belize, The Reserve, Kanantik,
Laguna Palms, and Bamboo Springs), Buy International,
Inc. (also doing business as Sanctuary Bay, Sanctuary
Belize, The Reserve, Kanantik, Laguna Palms, and
Bamboo Springs), Foundation Development Management
Inc., Eco Futures-Development (also doing business as
Sanctuary Bay, Sanctuary Belize, and The Reserve), Eco-
Futures Belize Limited (also doing business as Sanctuary
Bay, Sanctuary Belize, and The Reserve), Power Haus
Marketing,

GLOBAL PROPERTY ALLIANCE, INC .., a California
corporation, also doing business as Sanctuary Bay,
Sanctuary Belize, The Reserve, Kanantik, Laguna Palms,
Bamboo S . rin s1 Eco f:'ulm:es, Eco Futures Dcv~l ~,rncnt


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Eco Futures Belize, Sittee River Wildlife Reserve, Buy
Belize, Buy International, and Buy Paradise,

SITTEE RIVER WILDLIFE RESERVE, an entity
organized under the laws of Belize, also doing busines as
Sanctuary Bay, Sanctuary Belize and The Reserve,

BUY BELlZ , LLC, a California limited liability
company, also doing business as Sanctuary Bay,
Sanctuary Belize, The Reserve, Kanantik, Laguna Palms,
and Bamboo Springs,

BUY INTERNATIONAL, TNC., a Cal ifornia corporation,
also doing busincs as Sanctuary Bay, Sanctuary Belize,
The Reserve, Kanantik, Laguna Palms, and Bambo
Springs,

FOUNDATION DEVELOPMENT MANAGEMENT
INC., a California corporation,

ECO-FUTURES DEVELOPMENT, a California
corporation, also doing business as Sanctuary Bay,
Sanctuary Belize, and The Reserve,

ECO-FUTURES BELIZE LIMITED, a company
organized under the laws of Belize, also doing business as
Sanctuary Bay, Sanctuary Belize, and The Reserve,

POWER HAUS MARKETING, a California corporation,

BRANDI GREENFIELD, individually and as an officer
or owner of Global Property Alliance, Inc. (also doing
business as Sanctuary Bay, Sanctuary Belize, The
Reserve, Kanantik, Laguna Palms, Bamboo Springs, Eco
Futures, Eco Futures Development, Eco Futures Belize,
Sittee River Wildlife Reserve, Buy Belize, Buy
International, and Buy Paradise), Sittee River Wildlife
Reserve (also doing business as Sanctuary Bay, Sanctuary
Belize, and The Reserve), Buy Belize, LLC (also doing
business as Sanctuary Bay, Sanctuary Belize, The
Reserve, Kanantik, Laguna Palms, and Bamboo Springs),
Buy International, Inc. (also doing business as Sanctuary
Bay, Sanctuary Belize, The Reserve, Kanantik, Laguna
Palms, and Bamboo Springs), Foundation Development
Management Inc., Eco Futures-Development (also doing
busine s as Sanctuor Bo • Sa.ncttl&r- B.e1ite, and The

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Reserve), Eco-Futures Belize Limited (also doing business
as Sanctuary Bay, Sanctuary Belize, and The Reserve),
Power Haus Marketing, and BG Marketing, LLC, ·

BG MARKETING, LLC, an Oklahoma limited liability
company,

PRODIGY MANAGEMENT GROUP, LLC, a Wyoming
limited liability company,

JOl-IN USHER, individually and as an officer or owner of
Sittee River Wildlife Reserve (also doing business as
Sanctuary Bay, Sanctuary Belize, and The Reserve) and
Eco-Futures Belize Limited (also doing business as
Sanctuary Bay, Sanctuary Be.lize, and The Reserve),

ROD KAZAZI, individually and as an officer or owner of
Global Global Property Alliance, Inc. (also doing business
as Sanctuary Bay, Sanctuary Belize, The Reserve,
Kanantik, Laguna Palms, Bamboo Springs, Eco Futures,
Eco Futures Development, Eco Futures Belize, Sittee
River Wildlife Reserve, Buy Belize, Buy International,
and Buy Paradise), Buy Belize, LLC (also doing business
as Sanctuary Bay, Sanctuary Belize, The Reserve,
Kanantik, Laguna Palms, and Bamboo Springs), Buy
International, Inc. (also doing business as Sanctuary Bay,
Sanctuary Belize, The Reserve, Kanantik, Laguna Palms,
and Bamboo Springs), Eco Futures-Development (also
doing business as Sanctuary Bay, Sanctuary Belize, and
The Reserve), and Foundation Partners,

FOUNDATION PARTNERS, a California corporation
formerly known as Red Crane Advisors, Inc.,

FRANK COSTANZO, also known as Frank Green, and
Frank Peerless Green, Frank Connelly, and Frank
Connelly-Costanzo, in~ividually and as officer or owner
of Ecological Fox, LLC, Buy International, Inc. (also
doing business as Sanctuary Bay, Sanctuary Belize, The
Reserve, Kanantik, Laguna Palms, and Bamboo Springs),
and Foundation Development Management, Inc.,

BELIZE REAL ESTATE AFFILIATES, LLC, a limited
liability company organized under the laws of St. Kitts
and Nevis, also doing business as Coldwell Banker Belize
and Cqldwell Banker SoJ,ithern Belize.;


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EXOTIC INVESTOR, LLC, a limited liability company
organized under the laws of St. Kitts and Nevis, also
doing business as Coldwell Banker Belize and Coldwell
Banker Southern Belize,

SOUTHERN BELIZE REALTY, LLC, a limited liability
company. organized under the laws of Belize, also doing
business as Coldwell Banker Belize and Coldwell Banker
Southern Belize,

SANCTUARY BELIZE PROPERTY OWNERS'
AS SOCIA TJON, a Texas non-profit corporation, also
doing business as The Reserve Property Owners'
Association, and

ATLANTIC INTERNATIONAL BANK, LTD., a
company organized under the laws of Belize,

                       Defendants, and

ANGELA CHITTENDEN,

BEACH BUNNY HOLDINGS, LLC, a California limited
liability company,

THE ESTATE OF JOHN PUKKE,

JOHN VIPULIS, and

DEBORAH CONNELLY

                       Relief Defendants.


        Plaintiff, the Federal Trade Commission, has filed its Complaint for Permanent

Injunction and Other Equitable Relief pursuant to Section l3(b) of the Federal Trade

Commission Act ("FTC Act"), 15 U.S.C. § 53(b), and has moved, pursuant to Fed. R. Civ. P.

65(b), for a temporary restraining order, asset freeze, other equitable relief, and an order to show

cause why a preliminary injunction should not issue against individual defendants Andris Pukke,

Luke Chadwick, John Usher, Rod Kazazi, Brandi Greenfield; Frank Costanzo, and Defendants

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Global Property Alliance, Inc., Sittee River Wildlife Reserve, Buy Belize, LLC, Buy

International, Inc., Foundation Development Management, Inc., Eco-Futures Development, Eco-

Futures Belize Limited, Power Haus Marketing, Sanctuary Belize ,Property Owners' Association,

Prodigy Management Group LLC, Foundation Partners, BG Marketing, LLC, Ecological Fox,

LLC, Belize Real Estate Affiliates LLC, Exotic Investor LLC, Southern Belize Realty LLC,

Atlantic International Bank Ltd. (collectively, the "Sanctuary Belize Enterprise" or "SBE"); and

relief defendants Angela Chittenden, Beach Bunny Holdings, LLC, the Estate of John Pukke,

John Vipulis, and Deborah Connelly.

                                       FINDINGS OF FACT

        The Court, having considered the Complaint, the ex parte Motion for a Temporary

Restraining Order, declarations, exhibits, and the memorandum filed in support thereof, and

being otherwise advised, finds that:

        A.      This Court has jurisdiction over the subject matter of this case, and there is good

cause to believe that it will have jurisdiction over all parties hereto and that venue in this district

is proper.

        B.     In numerous instances, Defendants telemarketed real estate investments in Belize,

representing to consumers:

                1.   SBE uses a "no debt" business model. The "no debt" model makes Sanctuary

                     Belize a less risky investment than one in which the developer h11s to make

                     payments to creditors.

               2. In part because of the "no debt" model, every dollar SBE collects from Jot

                     sales goes back into the development.




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                3. This funding stream means SBE will finish the development quickly-within

                   two to five years.

                4. The finished development will contain numerous amenities including a

                   hospital staffed with American physicians and nurses near the development,

                   an emergency medical center near the downtown "Marina Village," a

                   championship-caliber golf course, an airstrip within the development, and a

                   new international airport nearby with direct flights to and from the United

                   States. Furthennore, the defendants promise that the "Marina Village" will

                   contain high-end boutique shops, restaurants, cafes, an American-style

                   grocery store, an elegant casino, a hotel, and a 250~slip world-class marina.

                5. These impressive amenities mean the lots will appreciate from 200% to 300%

                   within two to three years.

               6. Consumers can realize the rapid appreciation without difficulty because there

                   is already a robust resale market, making it easy to resell the lots should they

                   choose to do so.

               7. Andris Pukke has no material involvement with the Defendants' real estate

                   business.

       C.      As demonstrated by detailed evidence, including consumer testimony, documents

and testimony from Defendants' fonner employees, sales scripts, sales videos, transcripts of

sales pitches, and expert testimony demonstrating the falsity of the representations detailed

above. Therefore, there is good cause to believe that Defendants have engaged in and ate likely

to engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and the




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Telemarketing Sales Rule, 16 C.P.R. Part 310 ("TSR"), and that the FTC is therefore likely to

prevail on the merits of this action.

        D.      There is good cause to believe that immediate and irreparable ha1m will result

from Defendants' ongoing violations of the FTC Act and TSR unless Defendants are restrained

and enjoined by order of this Court.

        E.      There is good ·cause to believe that immediate and irreparable damage to the

Court's ability to grant effective final rei ief for consumers - including monetary restitution,

rescission, or refunds- will occur from the sale, transfer, destruction or other disposition or

conc~alment   by Defendants of their assets or records, unless Defendants are immediately

restrained and enjoined by order of this Court; and that, in accordance with Fed. R. Civ. P. 65(b),

the interests of justice require that this Order be granted without prior notice to Defendants.

Thus,' there is good cause for relieving the FTC of the duty to provide Defendants with prior

notice of its Motion for a Temporary Restraining Order.

        F.     There is good cause to believe that the Relief Defendants received, at a minimum,

funds totaling the Relief Defendant Limitation Amounts from the Defendants' likely unlawful

acts or practices. This finding does not in any way prohibit the FTC or the Relief Defendants

from proving that these Relief Defendants received greater or Jesser amounts or otherwise affect

the FTC's ability to obtain judgments greater than these amounts against these Relief

Defendants.

       G.      There is good cause to believe that Individual Defendants Andris Pukke, Peter

Baker, Luke Chadwick, and Frank Costanzo may flee the United States as a result of this

litigation in order to avoid the obligations from litigation, including discovery and monetary

obligations, because: (I) these individuals have a history of avoiding discovery and other court



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obligations; (2) have substantial assets overseas; and (3) the ability to flee to another jurisdiction,
                                                                                                          l
such as Belize. The Court must retain the ability to enforce its orders against these individuals to

effect the     rem~dial   purposes that Sections 5 and 13(b) of the FTC Act embody. As a result, there

is good cause to temporarily prevent Individual Defendants Andris Pukke, Peter Baker, Luke

Chadwick, and Frank Costanzo from traveling internationally.

          H.       Good cause exists for appointing a temporary receiver over the Receivership

Entities; freezing Defendants' assets; pennitting the FTC and the Receiver immediate access to

the Defendants' business premises; permitting the Receiver to take immediate control ofPukke's

and Baker's valuable personal assets; and permitting the FTC and the Receiver to take expedited

discovery.

          I.       Weighing the equities and considering the FTC's likelihood of ultimate success

on the merits, a temporary restraining order with an asset freeze, the appointment of a temporary

receiver, immediate access to business premises, immediate possession of certain personal assets,

expedited discovery, and other equitable relief is in the public interest.

          J.       This Court has authority to issue this Order pursuant to Section 13(b) of the FTC

Act, 15 U.S.C. § 53(b); Federal Rule of Civil Procedure 65; and the All Writs Act, 28 U.S.C.

§ 1651.

          K.       No security is required of any agency ofthe United States for issuance of a

temporary restraining order. Fed. R. Civ. P. 65(c).

                                              DEFINITIONS

       For the purpose·ofthis Order, the following definitions shall apply:

       A.          "Asset" means any legal or equitable interest in, right to, or claim to, any

property, wherever located and by whomever held, whether tangible, intangible, digital, or



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otherwise, including, but not limited to, digital currencies, virtual currencies, digital tokens, and   i,
cryptocurrencies.

        B.      "Corporate Defendant(s)" means Global Property Alliance, Inc., Sittee River

Wildlife Reserve, Buy Belize, LLC, Buy International, Inc., Foundation Development

Management, Inc., Eco-Futures Development, Eco-Futures Belize Limited, Power Haus

Marketing, and Sanctuary Belize Property Owners' Association, Prodigy ManagementGroup

LLC, Foundation Partners, Bo' Marketing, LLC, Ecological Fox, LLC, Belize Real Estate

Affiliates LLC, Exotic Investor LLC, Southern Belize Realty LLC, and Atlantic International

Bank Ltd. and each of their subsidiaries, affiliates, successors, and assigns.

        C.      "Defendant(s)" means the Corporate Defendants and Individual Defendants,

individually, collectively, or in any combination.

        D.     "Document" is synonymous in meaning and equal in scope to the usage of

"document" and "electronically stored information" in Federal Rule of Civil Procedure 34(a),

Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs, charts, photographs, sound and

video recordings, images, Internet sites, web pages, websites, electronic correspondence,

including e-mail and instant messages, contracts, accounting data, advertisements, FTP Logs,

Server Access Logs, books, written or printed records, handwritten notes, telephone logs,

telephone scripts, receipt books, ledgers, personal and business canceled checks and check

registers, bank statements, appointment books, computer records, customer or sales databases

and any other electronically stored information, including Documents located on remote servers

or cloud computing systems, and other data or data compilations from which information can be

obtained directly or, if necessary, after translation into a reasonably usable form. A draft or non-

identical copy is a separate document within the meaning of the term.



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        E.       "Electronic Data Host" means any person or entity in the business of storing,

hosting, or otherwise maintaining electronically stored infonnation. This includes, but is not

limited to, any entity hosting a website or server, and any entity providing "cloud based"

electronic storage.

        F.       "Individual Defendant(s)" means Andris Pukke, Peter.Baker, Luke Chadwick,

John Usher, Rod Kazazi, Brandi Greenfield, and Frank Costanzo individually, collectively, or in

any combination.

        G.      "Receiver" means the temporary receiver appointed in Section XV of this Order

and any deputy receivers who shall be named by the temporary receiver.

        H.      "Receivership Entities" means the Corporate Defendants (except Atlantic

International Bank, Ltd.) as well as any other entity that: (1) is located at, registered to, or

operated from 3333 Michelson Drive, Suite 500, Irvine, California, and assists, facilitates, or

otherwise conducts business related to the sale of real estate in Belize; (2) assists, facilitates, or

otherwise conducts business related to the acts identified in the Findings of Fact in this Order,

and is owned or controlled by any Defendant; or (3) Assets that are otherwise in the Receivership

and that are corporations or other legal entities.

       I.       "ReliefDefendant(s)" means Angela Chittenden, Beach Bunny Holdings LLC,

the Estate of John Pukke, John Vipulis, and Deborah Connelly.

       J.       "Relief Defendant Limitation Amount" means, for Angela Chittenden,

$150,000.00; for Beach Bunny Holdings, LLC, $115,000.00; for the Estate of John Pukke,

$705,000.00; for John Vipulis, $4,111,000.00; and for Deborah Connelly, $478,804.93.




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                                                ORDER

                        I.      PROIDBITED BUSINESS ACTIVITIES

        IT IS THEREFORE ORDERED that Defendants, Defendants' officers, agents,

employees, and attorneys, and all other persons in active concert or participation with them, who

receive actual notice of this Order by personal service or otherwise, whether acting directly or

indirectly, in connection with the advertising, marketing, promoting, or offering for sale of any

goods or services (including the sale of lots or homes), are temporarily restrained and enjoined

from misrepresenting or assisting others in misrepresenting, expressly or by implication, any

material fact, including, but not limited to:

        A.      The use of a "no debt" business model in a real estate development makes an

investment in the real estate development a less risky investment than one in which the developer

makes payments to creditors;

        B.      Every dollar, or the vast majority of dollars, collected from selling lots in a real

estate development goes back into the development;

        C.     The real estate development will be completed within a specified period of time,

such as a particular number of weeks, months, or years;

        D.     The real estate development will have specific amenities including those expected

of an American luxury resort community;

       E.      Lots within a real estate development will appreciate or appreciate rapidly, such

as a particular rate within a particular period oftime;

       F.      Consumers can realize the appreciation of their lots within the real estate

development because there is a robust resale market through which consumers could easily resell

their lots should they choose to do so; and



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        G.      One or more Defendants have no meaningful involvement with the relevant

 business;

        H.      Any other fact material to consumers concerning any good or service, such as:

the total costs; any material restrictions, limitations, or conditions; or any material aspect of its

performance, efficacy, nature, or central characteristics.

          II.        PROIDBITION ON RELEASE OF CUSTOMER INFORMATION

        IT/IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

restrained and enjoined from:

        A.      Selling, renting, leasing, transferring, or otherwise disclosing, the name, address,

birth date, telephone number, email address, credit card number, bank account number, Social

Security number, lot number, lot sale contract, buyback agreement, or other financial or

identifying information of any person that any Defendant obtained in connection with any

activities conducted by the Receivership Entities; and

        B.      Benefitting from or using the name, address, birth date, telephone number, email

address, credit card number, bank-account number, Social Security number, or other financial or

identifying information of any person that any Defendant obtained in connection with any

activities conducted by the Receivership Entities.

        Provided, however, that Defendants may disclose such identifying information to a law

enforcetpent agency, to their attorneys as required for their defense, as required by any law,

regulation, or court order, or in any filings, pleadings or discovery in this action in the manner

required by the Federal Rules of Civil Procedure, applicable local rules, and by any protective

order in the case.

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                                      III.    ASSET FREEZE

        IT IS FURTHER ORDERED that Defendants; Relief Defendants, and their officers,

 agents, employees, and attorneys, and all other persons in active concert or participation with any

of them, who receive actual notice ofthis Order, whether acting directly or indirectly, are hereby

 temporarily restrained and enjoined from:

        A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

 concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

lien or security interest or other interest in, or otherwise disposing of any Assets that are:

                1.     owned or controlled, directly or indirectly, by any Defendant or Relief

                       Defendant;

                2.     held, in part or in whole, for the benefit of any Defendant or Relief

                       Defendant;

                3.     in the actual or constructive possession of any Defendant or Relief

                       Defendant;

               4.      owned or controlled by, contro1Jed or managed by, under common control

                       with, in the actual or constructive possession of, or otherwise held for the

                       benefit of, any corporation, partnership, asset protection trust, HYCET

                       trust, or other entity that is directly or indirectly owned, managed or

                       controlled by any Defendant or Relief Defendant; or

               5.      transferred from any Defendant or Relief-Defendant withbut adequate

                       consideration, or for the primary purpose of shielding·the Asset from any

                       creditor.

Provided, however, at any time, a Relief Defendant may request, in writing and with supporting

documentation if appropriate, that the Receiver determine whether the Relief Defendant's Assets

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affected by this Section exceed the amount necessary to satisfy a judgment in favor of the FTC

and against the Relief Defendant in the amount of the applicable Relief Defendant Limitation

Amount. The Receiver will respond as soon as practical, and if the Receiver determines that

sufficient Assets exist, then the Receiver shall determine, in its sole discretion, which o'f the

Relief Defendant's Assets to exclude from this Section. In that event, the Receiver shall

promptly advise Relief Defendant in writing and in a form suitable to present to third parties

holding the Relief Defendant's Assets. Additionally: (a) Both the ReliefDefendant and

Receiver will copy the FTC on all correspondence exchanged concerning requests to exclude

Assets; (b) if a Relief Defendant and one or more Defendants have joint control over an Asset, or

the Asset is held for the benefit of a Defendant by a Relief Defendant, the Receiver will not

count that Asset as an Asset available to satisfy the Relief Defendant Limitation Amount; and (c)

if one or more Relief Defendants have joint control over an Asset, the Receiver will not count

that Asset as an Asset available to satisfy any Relief Defendant's Limitation Amount unless all

affected Relief Defendants agree in writing.

        B.     Opening or causing to be opened any safe deposit boxes, commercial mail boxes,

or storage facilities titled in the name of any Defendant or subject to access by any Defendant

(other than Atlantic International Bank), except as necessary to comply with written requests

from the Receiver acting pursuant to its authority under this Order;

        C.     Incurring charges or cash advances on any credit, debit, or ATM card issued in

the name, individually or jointly, of any Receivership Entity (which includes any corpo~ation,

partnership, or other entity directly or indirectly owned, managed, or controlled by any

Individual Defendant) or other corporate, partnership, or other entity of which any Individual

Defendant is an officer, director, member, or manager. This includes any corporate bankcard or



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 corporate credit card account for which any Individual Defendant is, or was on the date that this

 Order was signed, an authorized signor. This provision is included for clarity, because such

 conduct would also violate Paragraph A.; or

        D.      Cashing any checks or depositing any money orders or cash received from

consumers, clients, or customers of any Receivership Entity.

        Provided, however, the Assets affeCted by this Section shall only include: (1) all Assets

of Defendants and Relief Defendants as of the time this Order is entered; and (2) Assets obtained

by Defendants and Relief Defendants after this Order is entered if those Assets are derived from

any activity described in the Findings of Fact in this Order or that is prohibited by this Order.

This Section does not prohibit any transfers to the Receiver or repatriation of foreign Assets

specifically required by this order.

        Provided further, for Atlantic International Bank, Ltd., the Assets subject to this section

are limited to $144,000,000.00, the estimated consumer loss for which Atlantic International

Bank, Ltd., would be liable as an assistor and facilitator. For Atlantic International Bank, Ltd.,

the Assets subject to this section will also include any Assets obtained after this Order is entered

if those Assets are derived from any activity described in the Findings of Fact in this Order or

that is prohibited by this Order.

       Notwithstanding anything else herein, Assets that Atlantic International Bank Ltd. holds

for others (such as accountholders) are not covered by this Order unless Defendants or Relief

Defendants control the Assets.

          IV.     DUTIES OF ASSET HOLDERS AND OTHER TIDRD PARTIES

       IT IS FURTHER ORDERED that any financial or brokerage institution (which, for

clarity, includes defendant Atlantic Intematio!lal Bank, Ltd.), coin exchange, cryptocurrency

exchange, or crypto currency service provider, Electronic Data Host, credit card processor,
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 payment processor, merchant bank, acquiring bank, independent sales organization, third party

 processor, payment gateway, insurance company, business entity, or person who receives actual

 notice of this Order (by service or otherwise) that:

         (a) has held, controlled, or maintained custody, through an account or otherwise, of any

 Document on behalf of any Receivership Entity, Defendant or Relief Defendant, or any Asset

 that has been owned or controlled, directly or indirectly, by any Receivership Entity, Individual

 Defendant, or Relief Defendant; held, in part or in whole, for the benefit of any Receivership

 Entity or Individual Defendant; in the actual or constructive possession of any Receivership

 Entity, Individual Defendant, or Relief Defendant; or owned or controlled by, in the actual or

 constructive possession of, or otherwise held for the benefit of, any corporation, partnership,

· asset protection trust, or other entity that is directly or indirectly owned, managed or controlled

 by any Receivership Entity, Individual Defendant, or Relief Defendant;

         (b) has held, controlled, or maintained custody, through an account or otherwise, of any

 Document or Asset associated with credits, debits, or charges made on behalf of any

 Receivership Entity, Individual Defendant, or Relief Defendant, including reserve funds held by

 payment processors, credit card processors, merchant banks, acquiring banks, independent sales

 organizations, third party processors, payment gateways, insurance companies, or other entities;

 or

         (c) has extended credit to any Receivership Entity, Individual Defendant, or Relief

 Defendant, including through a credit card account, shall:

        A       Hold, preserve, and retain within its control and prohibit the withdrawal, removal,

 alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

conversion, sale, or other disposal of any such Document or Asset, as well as all Documents or



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 other property related to such Assets, except by further order of this Court; provided, however,

 that this provision does not prohibit an Individual Defendant from incurring charges on a

 personal credit card established prior to entry of this Order, up to the pre-existing credit limit;

         B.      Deny any person, except the Receiver, access to any safe deposit box, commercial

 mail box, or storage facility that is titled in the name of any Receivership Entity or Individual

 Defendant, either individually or jointly, or otherwise subject to access by any Receivership

 Entity or Individual Defendant;

        C.      Provide FTC counsel and the Receiver, within three (3) days of receiving a copy

 of this Order, a sworn statement setting forth, for each Asset or account covered by this Section:

                 1.     The identification number of each such account or Asset;

                2.      The balance of each such account, or a description of the nature and value

                        of each such Asset as of the close of business on the day on which this

                        Order is served, and, if the account or other Asset has been closed or

                        removed, the date closed or removed, the total funds removed in order to

                        close the account, and the name of the person or entity to whom such

                        account or other Asset was remitted; and

                3.      The identification of any safe deposit box, commercial mail box, or

                        storage facility that is either titled in the name, individually or jointly, of

                        any Receivership Entity, Individual Defendant, or Relief Defendant, or is

                        otherwise subject to access by any Receivership Entity, Individual

                        Defendant, or Relief Defendant; and

                4.      The cryptographic hash value, time stamp, transaction data, public

                        addresses or other information sufficient to identify, locate, and track



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                        cryptocurrency in any blockchain or distributed ledger·technology system

                        that is belonging to, for the use or benefit of, or subject to access by any

                        Receivership Entity, Individual Defendant, or Relief Defendant.

         D.      Upon the request of FTC counsel or the Receiver, provide FTC counsel and the

 Receiver, within seven (7) days of any request, with copies of all Documents covered by this ,

 Section, including originals or copies of account applications, account statements, signature

 cards, checks, drafts, deposit tickets, transfers to and from the accounts, including wire transfers

 and wire transfer instructions, all other debit and credit instruments or slips, currency transaction

reports, 1099 forms, and all logs and records pertaining to safe deposit boxes, commercial mail

boxes, and storage facilities.

        Provided, however, that this Section does not prohibit any transfers to the Receiver or

repatriation of foreign Assets specifically required by this order.

                                 V.     FINANCIAL DISCLOSURES

        IT IS FURTHER ORDERED that:

        A.      Within five (5) days of service of this Order upon them:

                1.      Each Individual Defendant and Relief Defendant shall complete financial ·

                        statements on the form attached to this Order as Attachment A (Financial

                        Statement oflndividual Defendant) and deliver them to FTC counsel and

                        the Receiver;

                2.      Each Corporate Defendant shall complete financial statements on the form

                        attached to the Order as Attachment B (Financial Statement of Corporate

                        Defendant) and deliver them to FTC counsel and the Receiver; and

                3.     Each Individual Defendant, Relief Defendant, arid Corporate Defendant

                       shall complete the forms attached to this Order as Attachment C (IRS
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                         Form 4506, Request for Copy of a Tax Return), Attachment D (consent

                         to release financial records), and Attachment E (cryptocurrency

                         disclosure statement) and deliver them to FTC counsel and the Receiver;

         B.      Within three (3) days of a written request from the FTC or the Receiver, each

 Individual Defendant, Relief Defendant, and Corporate Defendant shall provide any other

 executed form, letter, or request sufficient to cause the release to the FTC or Receiver any tax

 return, return information, or related material, whether related to a domestic or foreign taxing

 authority, that the FTC 'or Receiver may request.

                           VI.     FOREIGN ASSET REPATRIATION

         IT IS FURTHER ORDERED that within five (5) days following the service of this

 Order, each Defendant shall:

         A.      Provide FTC counsel and the Receiver with a full accounting, verified under oath

 and accurate as of the date of this Order, of all Assets, Documents, and accounts outside of the

 United States which are: (1) titled in the name, individually or jointly, of any Defendant; (2)

 held by any person or entity for the benefit of any Defendant or for the benefit of, any

 corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

 managed or controlled by any Defendant; or (3) under the direct or indirect control, whether

jointly or singly, of any Defendant;

        B.      Take all steps necessary to provide FTC counsel and Receiver access to all

 Documents and records that may be held by third parties located outside of the territorial United

 States of America, including signing the Consent to Release of Financial Records appended to

this Order as Attachment E;

        C.      Transfer to the territory of the United States all Documents and Assets located in

foreign countries which are: (1) titled in the name, individually or jointly, of any Defendant; (2)
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 held by any person or entity for the benefit of any Defendant or for the benefit of, any

 corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

 managed or controlled by any Defendant; or (3) under the direct or indirect control, whether

 jointly or singly, of any Defendant. Provided, however, that Atlantic International Bank, Ltd.,

 need only transfer (1) those Assets related to its own financial holdings up to $144,000,000; (2)

 those Documents related in any way to the conduct identified in the Findings of Fact identified in

 this Order; (3) and all Documents and Assets held by or for the benefit of any other Defendant.

 Atlantic International Bank, Ltd., is not required to transfer Assets held by its other depositors to

 the territory of the United States; and

          D.      The same business day as any repatriation, (1) notify the Receiver and FTC

 counsel of the name and location of the financial institution or other entity that is the recipient of

 such Documents or Assets; and (2) serve this Order on any such financial institution or other

entity.

                    VII.    RELIEF DEFENDANT ASSET REPATRIATION

          IT IS FURTHER ORDERED that if any Relief Defendant's domestic Assets are Jess

than the applicable Relief Defendant Limitation Amount, then within five (5) days following

service ofthis Order, each such Relief Defendant shall transfer to the territory ofthe United

States sufficient Assets located in foreign countries until their domestic Assets equal the amounts

detailed above.

Provided, each Relief Defendant must, within five (5) days following service ofthis Order,

inform the FTC and the Receiver how it has made the valuation determination necessary to

comply with this section and provide the FTC and the Receiver sufficient documentation to

evaluate the valuation method used. The FTC and Receiver shall have the right to challenge any

such valuation determination before the Court by filing a memorandum challenging the

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 determination, attaching all documentation provided by the Relief Defendants, and any

 additional evidence, if any, relied upon by the movant. The Court shall hear any such challenge

 on an expedited basis, in no event less than fourteen (14) days from any challenge.

 Providedfurther, when any Relief Defendant repatriates any Asset, it will inform the Receiver

 and the FTC immediately and disclose: (1) a description of the Asset(s) being transferred; (2)

 the location to which they are being transferred; and (3) if to a financial institution, the name of

 the financial institution, the name of the account at the financial institution, and the account

 number of the account at the financial institution.

                     VIII. NON-INTERFERENCE WITH REPATRIATION

         IT IS FURTHER ORDERED that Defendants and Relief Defendants, Defendants' and

 Relief Defendants' officers, agents, employees, and attorneys, and all other persons in active

 concert or participation with any of them, who receive actual notice of this Order, whether acting

 directly or indirectly, are hereby temporarily restrained and enjoined from taking any action,

 directly or indirectly, which may result in the encumbrance or dissipation offoreign Assets, or in

 the hindrance of the repatriation required by this Order, including, but not limited to:

        A.        Sending any communication or engaging in any other act, directly or indirectly,

that results in a determination by a foreign trustee or other entity that would impede repatriation,

including any "duress" event, has occurred under the terms of a foreign trust agreement until

such time that all Defendants' Assets have been fully repatriated pursuant to this Order;

        B.        Not~fying any trustee, protector or other agent of any 'foreign trust or other related

entities of either the existence of this Order, or of the fact that repatriation is required pursuant to

a court order, until such time that all Defendants' Assets have been fully repatriated pursuant to

this Order; and



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         C.     Notifying any person or entity of this Order or of anything related to this Order

 that causes any person or entity holding Assets that must be repatriated pursuant to this Order to

 interfere with or prevent such repatriation.
                                                                                                      i•

                            IX.     CONSUMER CREDIT REPORTS

         IT IS FURTHER ORDERED that the FTC may obtain credit reports concerning any

 Defendant or Relief Defendant pursuant to Section 604(a)(l) of the Fair Credit Reporting Act, 15

 U.S.C. 168lb(a)(l), and that, upon written request, any credit reporting agency from which such

 reports are requested shall provide them to Plaintiff.

                          . . X.    PRESERVATION OF RECORDS

         IT IS FURTHER ORDERED that Defendants, and Defendants' officers, agents,

 employees, and attorneys, and all other persons in active concert or participation with any of

 them, who receive actual notice ofthis Order, whether acting directly or indirectly, are hereby

 temporarily restrained and enjoined from:

        A.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

 transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

 relate to: (1) the business, business practices, Assets, or business or personal finances of any

Receivership Entity or Individual Defendant; (2) the business practices or finances of entities

directly or indirectly under the control of any Receivership Entity of Individual Defendant; or (3)

the business practices or fmances of entities directly or indirectly under common control with

any other Receivership Entity, Individual Defendant, or Relief Defendant; and

        B.      Failing to create and maintain Documents that, in reasonable detail, accurately,

fairly, and corppletely reflect Defendants' income, disbursements, transactions, and use of

Defendants' Assets.



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                            XI.     REPORTS OF NEW ACTIVITIES

         IT IS FURTHER ORDERED that Defendants, Relief Defendants, and their officers,

 agents, employees, and attorneys, and all other persons in active concert or participation with any

 of them, who receive actual notice of this Order, whether acting directly or indirectly, are hereby

temporarily restrained and enjoined from:

         A.      For Defendants, failing to maintain Documents that, in reasonable detail,

 accurately, fairly, and completely reflect their incomes, disbursements, transactions, and use of

money;

         B.     For Defendants, creating, operating, or exercising any control over any business

entity, whether newly formed or previously inactive, including any partnership, limited

partnership, j_oint venture, sole proprietorship, or corporation, without first providing Plaintiffs

counsel and the Receiver with a written statement, sworn to under penalty of perjury, disclosing:

(1) the name of the business entity; (2) the address and telephone number of the business entity;

(3) the names of the business entity's officers, directors, principals, managers, and employees;

and (4) a detailed description of the business entity's intended activities;

        C.      For Individual Defendants, affilia,ting with, becoming employed by, or performing

any work for, or directly or indirectly receiving any compensation from any person or entity

(including, without limitation, any purportedly "nonprofit" entity) without first providing the

Commission with a written statement, sworn to under penalty of perjury, disclosing: (1) the·

name of the person or entity; (2) the address and telephone number of the business or person; (3)

if an entity, its registered agent (4) if an entity, the names of its officers, directors, principals, and

managers; (4) which, if any, ofthe other Defendants or Relief Defendants are in any way related

to the entity or person, including the nature of that relationship; (5) a detailed description of the



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 person or entity's activities and intended activities; and (6) a detailed description ofthe

 Individual Defendant's services for the person or entity:

         D.     For Individual Defendants and Relief Defendants that are natural persons, failing

 to provide a written statement, sworn to under penalty of perjury, within five (5) days of any

 change in residence, physical address, phone number, email address, or other contact

 infonnation, disclosing: (1) all current residences; (2) all current mail boxes or other physical

 addresses; (3) all current telephone numbers; (4) all current email addresses; and _(S) at least one

 reasonable means of contact (such as through counsel) through which the Individual Defendant

 or Relief Defendant agrees to accept service of process and receive filings or other legal

 documents~


       XII.    INTERNATIONAL TRAVEL RESTRICTIONS AND SURRENDER OF
                           PASSPORTS-WRITS NE EXEAT

        IT IS FURTHER ORDERED that Individual Defendants Andris Pukke, Peter Baker,

 Luke Chadwick, and Frank Costanzo:

        A.      Not leave the United States without Court approval; and

        B.      Surrender immediately all of their passports (whether issued by the,United States

 or any other country), and any other documents that would permit international travel, t_o the

 custody of the Receiver.

        C.      Any and all law enforcement authorities shall be authorized to enforce this order,

 including but not limited to preventing any departure from the United States and confiscating any

passports. If any such law enforcement authority confiscates a passport, it shall turn over the

passport to the Receiver, either directly or through an intermediary.




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              XIII. THIRD PARTY INTERNATIONAL TRAVEL PROVIDERS

         IT IS FURTHER ORDERED that any common carrier or other company providing

 international transportation services or facilitating such services shall not, without Court

 approval:

         A.      Permit Individual Defendants Andris Pukke, Peter Baker, Luke Chadwick, and

 Frank Costanzo to travel internationally;

         B.      Take any action that would cause any common carrier or other company

 providing international transportation services to issue a ticket or other contract for international

 travel to Andris Pukke, Peter Baker, Luke Chadwick, and Frank Costanzo (such as providing

 booking or agency services; whether online or otherwise); and

         D.     Fail to notify the FTC immediately iflndividual Defendants Andris Pukke, Peter

 Baker, Luke Chadwick, or Frank Costanzo book, or attempt to book, international travel or

 leave, or attempt to leave, the United States.

                                        XIV. TAMPERING

        IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

restrained and enjoined from, in the course of this proceeding:

        A.      Using or attempting to use force, the threat of force, or payment to influence,

delay, or prevent the testimony of any person,

        B.      .Causing or inducing, or attempting to cause or induce, any person to:

                1.                                         a
                        withhold testimony, or withhold Document or other object;

                2.      alter, destroy, mutilate, or conceal any Document or other object with

                        intent to impair the integrity or availability of the item;

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                3.      evade legal process summoning that person to appear as a witness, or to

                        produce Document(s) or other object(s); or

                4.      be absent from an official proceeding to which that person has been

                        summoned by legal process.

                               XV.     TEMPORARY RECEIVER     f~
         IT IS FURTHER ORDERED that tlcbb£v«:rt.I' t-A..c.rc.c. is appointed as

 temporary receiver of the Receivership Entities and all other Assets and Documents ordered into

 his or her custody, possession, or control pursuant to Sections XII., XVI., and XVIII. of this

 Order. He shall have full powers of an equity receiver. The Receiver shall be solely the agent of

 this Court in acting as Receiver under this Order.

                       XVI.   DUTIES AND AUTHORITY OF RECEIVER

        IT IS FURTHER ORDERED that the Receiver is directed and authorized to

 accomplish the following:

        A.      Assume full control of Receivership Entities by removing, as the Receiver deems

 necessary or advisable, any director, officer, independent contractor, employee, attorney, or

 agent of any Receivership Entity from control of, management of, or participation in, the affairs

 ofthe Receivership Entity;

        B.      Take exclusive custody, control, and possession of all Assets and Documents of,

 or in the possession, custody, or under the control of, any Receivership Entity, wherever situated,

 and take exclusive custody, control, and possession of all Assets valued by the Receiver at

$1,000.00 or more held by or for the benefit oflndividual Defendants Andris Pukke or Peter

Baker as of the date this Order is entered. The Receiver shall take control over all such

Documents and Assets as soon as practicable, including all Documents stored with Electronic

Data Host providers;

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         C.      Take exclusive custody, control, and possession of all office suites or business

 locations with leases in the name of any Receivership Entity, including, but not limited to, 3333

 Michelson Drive, Irvine, California, Suite 500 ("Receivership Premises"). For Clarity, .the

 Receiver's custody, control, and possession will be exclusive for this Order's duration,

 notwithstanding any claims by an individual or entity that may also be occupying Receivership

 Premises that they are not Defendants, Receivership Entities, or are otherwise unrelated to the

 Receivership Entities. The Receiver's custody, control, and possession shall include all

 Documents at Receivership Premises until further order from the Court;

         D.      Conserve, hold, manage, and prevent the loss of all Assets of the receivership

 estate, and perform all acts necessary or advisable to preserve the value oftn()se Assets. The

 Receiver shall assume control over the income and profits therefrom and all sums of money now

 or hereafter due or owing to the Receivership Entities. The Receiver shall have full power to sue

 for, collect, and receive, all Assets of the receivership estate and of other persons or entities

 whose interests are now under the direction, possession, custody, or control of, the Receivership

 Entities. Provided, however, that the Receiver shall not attempt to collect any amount from a

 consumer if the Receiver believes the consumer's debt to the Receivership Entities has resulted

 from the deceptive acts or practices or other violations of law alleged in the Complaint in this

 matter, without prior Court approval;

        E.      Obtain, conserve, hold, manage, and prevent the loss of all Documents of the

Receivership Entities or otherwise relating to the Assets within the Receivership derived from

Individual Defendants Pukke or Baker ("Receivership Documents"), and perform all acts

necessary or advisable to preserve such Documents. The Receiver shall: divert mail; preserve

all Receivership Documents that are accessible via electronic means (such as online access to



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 financial accounts) and access to electronic documents held onsite or by Electronic Data Hosts,

 by changing usemames, passwords or other log-in credentials; take possession of all electronic

 Receivership Documents stored onsite or remotely; take whatever steps necessary to preserve all

 such Documents; and obtain the assistance of the FTC's Digital Forensic Unit for the purpose of

 obtaining electronic documents stored onsite or remotely . In particular, the Receiver shall take

 all steps necessary to obtain copies of the Defendants' business email accounts, including those

 of any of its employees, whether that information is stored onsite or offsite.

         F.      In addition to obtaining email accounts under P1;1ragraph E, the Receiver shall take

 all steps necessary to obtain copies of other known email accounts associated with Andris Pukke

 or Peter Baker, regardless of whether the email is denoted as a personal account. In furtherance

 of this duty and as part of the Defendants' duty to cooperate, Andris Pukke and Peter Baker shall

 provide the Receiver with all credentials or log in information needed to access any of the

 records identified in this paragraph;

         G.     Choose, engage, and employ attorneys, accountants, appraisers, and other

 independent contractors and technical specialists, as the Receiver deems advisable or necessary

 in the performance of duties and responsibilities under the authority granted by this Order;

        H.      Make payments and disbursements from the receivership estate that are necessary

 or advisable for carrying out the directions of, or exercising the authority granted by, this Order,

 and to incur, or authorize the making of, such agreements as may be necessary and advisable in

 discharging his or her duties as Receiver. The Receiver shall apply to the Court for prior

approval of any payment of any debt or obligation incurred by the Receivership Entities prior to

the date of entry of this Order, except payments that the Receiver deems necessary or advisable

to secure Assets of the Receivership Entities, such as rental pay~ents;



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        I.      Take all steps necessary to secure and take exclusive custody of each location

 from which the Receivership Entities operate their businesses. Such steps may include, but are

 not limited to, any of the following, as the Receiver deems necessary or advisable: (1) securing

 the location by changing the locks and alarm codes and disconnecting any internet access or

 other means of access to the computers, servers, internal networks, or other records maintained at

that location; and(~) requiring any persons prese.nt at the location to leave the premises, to

provide the Receiver with proof of identification, and/or to demonstrate to the satisfaction of the

Receiver that such persons are not removing from the premises Documents or Assets of the

Receivership Entities. Law enforcement personnel, including, but not limited to, police or

sheriffs, may assist the Receiver in implementing these provisions in order to keep the peace and

maintain security. If requested by the Receiver, they may provide appropriate and necessary

assistance to the Receiver to implement this Order and are authorized to use any necessary and

reasonable force to do so;

        J.      Take all steps necessary to prevent the modification, destruction, or erasure of any

web page or website registered to and operated, in whole or in part, by any Defendants, and to

provide access to all such web page or websites to Plaintiffs representatives, agents, and

assistants, as well as Defendants and their representatives;

        K.     Enter into and cancel contracts and purchase insurance as advisable or necessary;

        L.     Prevent the inequitable distribution of Assets and determine, adjust, and protect

the interests of consumers who have transacted business with the Receivership Entities;

        M.     Make an accounting, as soon as practicable, of the Assets and financial condition

of the receivership and file the accounting with the Court and deliver copies thereof to all parties;




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            N.   Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or
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 otherwise become party to any legal action in state, federal or foreign courts or arbitration

 proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets of

 the Receivership Entities, or to carry out the Receiver's mandate under this Order, including but

 not limited to, actions challenging fraudulent or voidable transfers;

            0.   Demand from any person or entity Documents and records pertaining to the

 Receivership within three (3) days after delivery of the Order by mail, courier, email, or other

 method by which the recipient receives a copy of this Order, in addition to obtaining other

 discovery as set forth in this Order;

            P.   Open one or more bank accounts at designated depositories for funds of the

 receivership estate. The Receiver shall deposit all funds of the receivership estate in such

 designated accounts and shall make all payments and disbursements from the receivership estate

 from such accounts. The Receiver shall serve copies of monthly account statements on all

 parties;

            Q.   Maintain accurate records of all receipts and expenditures incurred as Receiver;

            R.   Allow the FTC's representatives, agents, and assistants, as well as

 Defendants' representatives and Defendants themselves, reasonable access to the premises of the

 Receivership Entities, or any other premises where the Receivership Entities conduct business.

 The purpose of this access shall be to inspect and copy any and all books, records, Documents,

 accounts, and other property owned by, or in the possession of, the Receivership Entities or their

 agents. The Receiver shall have the discretion to determine the time, manner, and reasonable

conditions of such access;




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        S.      Allow the FTC's representatives, agents, and assistants, as well as Defendants and

their representatives reasonable access to all Documents in the possession, custody, or control of

the Receivership Entities or otherwise obtained from any Individual Defendants;

        T.      Cooperate with reasonable requests for information or assistance from any state or

federal civil or criminal law enforcement agency;

        U.      Suspend business operations of the Receivership Entities if in the judgment of the

Receiver such operations cannot be continued legally and profitably;

        V.      If in the Receiver's judgment the business operations cannot be continued legally

and profitably, take all steps necessary to ensure that any ofthe Receivership Entities' web pages

or websites relating to the activities alleged in the Complaint cannot be accessed by the public, or

are modified for consumer education and/or informational purposes, and take all steps necessary

to ensure that any telephone numbers associated with the Receivership Entities cannot be

accessed by the public, or are answered solely to provide consumer education or information

regarding the status of operations;

        W.      Determine if any nonparty is a Receivership Entity, and upon determining that a

nonparty is a Receivership Entity, the Receiver shall treat that entity as a Receivership Entity and

exercise all of its rights and duties specified in this Order as to that nonparty Receivership Entity;

        X.      If the Receiver identifies a nonparty entity as a Receivership Entity, promptly

notify the entity as well as the parties, and inform the entity that it can challenge the Receiver's

determination by filing a motion with the Court. Provided, however, that the Receiver may delay

providing such notice until the Receiver has established control of the nonparty (lntity, and its

assets and records, if the Receiver determines that notice to the entity or the parties before the




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 Receiver establishes control over the entity may result in the destruction of records, dissipation

 of assets, or any other obstruction of the Receiver's control of the entity; and

         Y.     If, as part of its implementation of this Order, the Receiver makes judgments

 about who has what ownership interest in which lot, the Receiver may not consider actions to

change or alter interests after the FTC's Complaint and this Order become public, or the effect of

any such actions.

                         XVII. TEMPORARY RECEIVER'S REPORT

        IT IS FURTHER ORDERED that the Temporary Receiver shall report to this Court at

least one day before the date set for the hearing regarding the Preliminary Injunction, regarding:

(I) the steps taken by the Temporary Receiver to implement the tenns of this Order; (2) the value

of all liquidated and unliquidated Assets of the receivership estate; (3) the sum of all liabilities of

the Receivership Entities; (4) the steps the Temporary Receiver intends to take in the future to:

(a) prevent any diminution in the value of Assets of the receivership estate; (b) pursue

receivership estate Assets from third parties; and (c) adjust the liabilities of the Receivership

Entities, i( appropriate; and (5) any other matters which the Temporary Receiver believes should

be brought to the Court's attention. Provided, however, if any of the required infonnation would

hinder the Temporary Receiver's ability to pursue receivership Assets, the portions of the

Temporary Receiver's report containing such infonnation may be redacted and be filed for the

Court's benefit under seal without service on the parties.

           XVIII. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

        IT IS FURTHER ORDERED that Defendants and any other person with possession,

custody or control of property of, or records relating to, the Receivership Entitie·s, or otherwise

related to Assets held by or for the benefit of Individual Defendants Andris Pukke and Peter

Baker, shall, upon notice of this Order, fully cooperate with and assist the Receiver in taking and

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 maintaining possession, custody, or control of the Assets and Documents of the receivership       ·   .I
 estate and immediately transfer or deliver to the Receiver possession, custody, and control of, the   '
 following:

        A.      All Assets held by or for the benefit of the Receivership Entities;

        B.      All Assets held by or for the benefit oflndividual Defendants Andris Pukke and

 Peter Baker that the Receiver values at more than $1,000.00, including, but not limited to, the

 residence located at 104 King's Place, Newport Beach, CA;

        C.      All Documents of or pertaining to the Receivership Entities;

        D.      All Documents related to the receivership estate Assets derived from Individual

 Defendants Andris Pukke and Peter Baker;

        E.      All computers, electronic devices, smartwatches, smartphones, tablets, other

 mobile devices, and machines within Receivership Premises that either (1) contain Receivership

Entity business records or are used to conduct Receivership Entity business, or (2) are on the

person of, or within the control of, any Individual Defendant or natural person Relief Defendant

who is present in the Receivership Premises; provided, however, that these devices shall be

forensically imaged (with the data provided to the FTC as soon as possible) and then returned

within three business days. The Receiver may rely on the FTC to complete any such forensic

imaging.

        F.      All computers, electronic devices, smartwatches, smartphones, tablets, other

mobile devices, other machines, and machines used by Individual Defendants Andris Pukke and

Peter Baker. Provided, however, that these devices shall be forensically imaged (with the data

provided to the FTC as soon as possible) and then returned to the Individual Defendants within 3

business days. The Receiver may rely on the FTC to complete any such forensic imaging;



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         G.     All emails, instant messages, or other digital communications sent or received by

 any Receivership Entity or employee or agent of the Receivership Entity in its business capacity,

 as determined by the Receiver;

         H.     All emails, instant messages, or other digital communications not covered by

 Paragraph G., sent or received by Andris Pukke or Peter Baker;

        I.      All Assets and Documents belonging to other persons or entities whose interests

 are under the direction, possession, custody, or control of the Receivership Entities or Individual

 Defendants Andris Pukke or Peter Baker;

        J.      All keys, codes, user names and passwords necessary to gain or to secure access

 to any Assets or Documents within the receivership estate, including access to their physical

 premises, means of communication, accounts, computer systems (onsite and remote), Electronic

Data Hosts, or other property. Regarding digital Assets such as digital currencies, virtual

 currencies, and cryptocurrencies, this includes providing the Receiver with all means necessary

to take control over such currencies, including any such digital wallet and cryptographic keys

used to access such Assets;

        Provided, the Receivership estate does not contain lots or interests in lots owned or

controlled by a consumer unaffiliated with Defendants or Relief Defendants, or any other Asset

owned or controlled by a consumer unaffiliated with Defendants or Relief Defendants.

        In the everit that any person or entity fails to deliver or transfer any Asset or Document,

or otherwise fails to comply with any provision of this Section, the Receiver may file an

Affidavit ofNon-Compliance regarding the failure and a motion seeking compliance or a

contempt citation.




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                   XIX. PROVISION OF INFORMATION TO RECEIVER

         IT IS FURTHER ORDERED that Defendants and Relief Defendants shall immediately

 provide to the Receiver:

         A.     A list of all Assets, including accounts, of the Receivership Entities, wherever

 they may be situated and whoever they may be held by, including, but not limited to, all such

 accounts that are held in any name other than the name of a Receivership Entity, or by any

 person or entity other than a Receivership Entity;

         B.     A list of all Assets, including accounts, oflndividual Defendants Andris Pukke or

 Peter Baker, wherever they may be situated and whoever they may      b~   held by, including, but not

 limited to; all such accounts that are held in any name other than that oflndividual Defendants

 Andris Pukke or Peter Baker;

        C.      A list of all agents, employees, officers, attorneys, servants and those persons in

 active concert and participation with the Receivership Entities, or who have been associated or

 done business with the Receivership Entities; and

        D.      A description of any Receivership Documents covered by attorney-client

privilege or attorney work product, including files where such documents are likely to be located,

 authors or recipients of such documents, and search terms likely to identify such electronic

documents.

                       XX.    COOPERATION WITH THE RECEIVER

        IT IS FURTHER ORDERED that Defendants and Relief Defendants and their officers,

agents, employees, and attorneys, all other persons in active concert or participation with any of

them, and any other person with possession, custody, or control of property or of records relating

to the Receivership Entities or otherwise within the receivership estate, who receive actual notice

of this Order, shall fully cooperate with and assist the Receiver. This cooperation and assistance

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 shall iriclude, but is not limited to, providing information to the Receiver that the Receiver deems

necessary to exercise the authority and discharge the responsibilities of the Receiver under this

Order; providing any keys, codes, user names and passwords required to access any computers,

electronic devices, smartwatches, smartphones, tablets, other mobile devices, other machines

(onsite or remotely), and any cloud account (including specific methods to access accounts) or

electronic file in any medium; advising all persons who owe money to any Receivership Entity

or Individual Defendants Andris Pukke and Peter Baker that all such debts should be paid

directly to the Receiver; and transferring funds at the Receiver's direction and producing records

related to the Assets and sales of the Receivership Entities.

                   XXI. NON-INTERFERENCE WITH THE RECEIVER

        IT IS FURTHER ORDERED that Defendants and Relief Defendants a:qd their officers,

agents, employees, attorneys, and all other persons in active concert or participation with any of

them, who receive actual notice of this Order, and any other person served with a copy of this

Order, are hereby restrained and enjoined from directly or indirectly:

        A.      Interfering with the Receiver's efforts to manage, or take custody, control, or

possession of, the Assets or Documents subject to the receivership;

        B.      Transacting any of the business of the Receivership Entities;

        C.      Transferring, receiving, altering, selling, encumbering, pledging, assigning,

liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

custody of, or in which an interest is held or claimed by, the Receivership Entities; or

        D.     Refusing to cooperate with the Receiver or the Receiver's duly authorized agents

in the exercise of their duties or authority under any order of this Court.




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                                    XXII. STAY OF ACTIONS

         IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency

 of the receivership ordered herein, Defendants and Relief Defendants and their officers, agents,

 employees, attorneys, and all other persons in active concert or participation with any of them,

 who receive actual notice of this Order, and their corporations, subsidiaries, divisions, or

 affiliates, and all investors, creditors, stockholders, lessors, customers and other persons seeking

 to establish or enforce any claim, right, or interest against or on behalf of Defendants, and all

 others acting for or on behalf of such persons, are hereby enjoined from taking any action that

 would interfere with the exclusive jurisdiction of this Court over the Assets or Documents within

 the receivership, including, but not limited to:

         A.     Filing or assisting in the filing of a petition for relief under the Bankruptcy Code,

 II U.S.C. § IOI et seq., or of any similar insolvency proceeding on behalf of any ofthe

Receivership Entities;

         B.     Commencing, prosecuting, or continuing a judicial, administrative, or other action

or proceeding against the Receivership Entities, including the issuance or employment .ofprocess

against the Receivership Entities, except that such actions may be commenced if necessary to toll

any applicable statute of limitations;

        C.      Filing or enforcing any lien on any Asset of the receivership estate, taking or

attempting to take possession, custody, or control of any Asset of the receivership estate; or

attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the receivership

estate, whether such acts are part of a judicial proceeding, are acts of self-help, or otherwise. For

clarity, as described in detail in this Order, the Assets of the receivership estate include all Assets

of the Receivership Entities as well as all Assets of Andris Pukke and Peter Baker that the

receiver values at $1,000.00 or more.

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 Provided, however, that this Order does not stay: (1) the commencement or continuation of a

 criminal action or proceeding; (2) the commencement or continuation of an action or proceeding

 by a governmental unit to enforce such governmental unifs police or regulatory power; or (3)

 the enforcement of a judgment, other than a money judgment, obtained in an action or

proceeding by a governmental unit to enforce such governmental unit' s police or regulatory

power.

                          XXIII. COMPENSATION OF RECEIVER

         IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

as herein authorized, including counsel to the Receiver and accountants, are entitled to

reasonable compensation for the performance of duties pursuant to this Order and for the cost of

actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession

or control of, or which may be received by, the receivership estate. The Receiver shall file with

the Court and serve on the parties periodic requests for the payment of such reasonable

compensation, with the first such request filed no more than sixty (60) days after the date of

entry of this Order. The Receiver shall not increase the hourly rates used as the bases for such

fee applications without prior approval of the Court.

         XXIV. IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

         IT IS FURTHER ORDERED that:

         A.    In order to allow the FTC and the Receiver to preserve Assets and evidence

relevant to this action and to expedite discovery, the FTC and the Receiver, and their

representatives, agents, contractors, and assistants, shall have immediate access to the business ·

premises and storage facilities, owned, controlled, or used by the Receivership Entities. Such

locations include, but are not limited to, 3333 Michelson Drive, Irvine, Suite 500, CA 92612, and

any offsite location or commercial mailbox leased or used by the Receivership Entities. The

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 FTC and the Receiver may exclude Defendants, Receivership Entities, and their employees from

 the business premises during the immediate access.

        B.      The FTC and the Receiver, and their representatives, agents, contractors, and

 assistants, are authorized to remove Documents from the Receivership Entities' premises in

 order that they may be inspected, inventoried, and copied. The FTC shall return any removed

 materials to the Receiver within five (5) business days of completing inventorying and copying,

 or such time as is agreed upon by Plaintiff and the Receiver;

        C.      If any Documents within the receivership are stored with an Electronic Data Host,

 the Electronic Data Host shall, immediately upon receiving notice of this order, preserve all such

 Documents, prevent access to these Documents by any person or entity other. than the Receiver,

 and shall provide the Receiver with access or all means to access the Documents, including any

 required usemame(s), password(s), or other credential(s);

        D.      When the Receiver has obtained access to any data held by an Electronic Data

Host controlled in whole or in part by any Receivership Entity, the Receiver shall make such

data available to the FTC for forensic copying and collection as soon as possible;

        E.      The Receiver, and his representatives, agents, and assistants, shall have immediate

access to all personal residences and storage facilities ("personal premises"), owned, controlled,

or used by Individual Defendants Andris Pukke or Peter Baker. During this immediate access,

the Receiver may exclude any individuals within his discretion from the personal premises,

including but not limited to any Defendants, Defendants' friends and family, Defendants'

attorneys, and any other agent or employee of any of the foregoing. The Receiver may require

any person to leave the personal premises during the immediate access and require any person at

the personal or business premises to provide him proof of identification and demonstrate to his



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 satisfaction that such persons are not removing Documents or Assets from the premises. The

 purpose of the immediate access shall be to effect service, inventory all Assets, remove Assets

 from the premises if appropriate, and to inspect and copy the business and financial records of

 Individual Defendants Andris Pukke and Peter Baker, including forensic imaging of

 electronically stored information at the Receiver's discretion, including any such information on

 a computer, smartphone, or tablet. The Receiver may make use of the FTC's digital forensic

 examiners, but no FTC personnel shall enter any personal premises of Andris Pukke or Peter

 Baker. The Assets and Documents that may be removed include all Assets and Documents

 previously defined by this Order to be within the receivership estate. As is required under the

 cooperation provisions of this Order, Individual Defendants Andris Pukke and Peter Baker, and

 all of their employees or agents, shall provide the Receiver with any necessary means of access

 to Assets and Documents within the receivership estate, including the locations of the Assets and

 Documents, keys and combinations to locks, computer access codes, and storage access

 information. The Receiver shall return any computer, smartphone, or tablet removed for forensic

 imaging within five (5) business days of the immediate access. The Receiver shall return the

 originals of any Documents after they have been copied. Once the immediate access is

 complete, the Receiver shall not have any further access to the personal premises oflndividual

 Defendants without a further order from this Court;

         F.     As S?on as the Receiver has collected Documents and Assets from the personal

 premises of Andris Pukke or Peter Baker, he shall make those Documents and Assets available to

 the FTC for copying or forensic imaging;

        G.      The FTC and the Receiver, and their representatives, agents, contractors, and

 assistants, are authorized to obtain the assistance of federal, state and local law enforcement



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 officers as they deem necessary to effect service and to implement peacefully the provisions of

 this Order;

         H.     The FTC's access to the Receivership Entities' documents pursuant to this

 Section shall not provide grounds for any party to object to any subsequent request for

 documents the FTC or any other party serves. Furthermore, in such discovery responses, if a

 responsive Document was in the custody, control, or possession of the responding party prior to

 the creation of the receivership, that party must identify that Document with sufficient specificity

 to allow the requesting party to easily locate the Document within the materials the Receiver

 possesses or, if the responding party lacks such infonnation, the responding party must provide

 whatever information it has regarding the requested Document including, without limitation, any

 other information the responding party has regarding whether the requested Document exists;

 and

        I.      If any Documents, computers, or electronic storage devices containing
                        '
 information related to the business practices or finances of the Receivership Entities are at a

 location other than those listed herein, including personal residence(s) of any Defendant, then,

 immediately upon receiving notice of this order, Defendants and Receivership Entities shall

produce to the Receiver all such Documents, computers, and electronic storage devices, along

with any codes or passwords needed for access. In order to prevent the destruction of computer

data, upon service of this Order, any such computers or electronic storage devices shall be

powered down in the normal course of the operating system used on such devices and shall not

be powered up or used until produced for copying and inspection. Upon receipt, the Receiver

shall make these Documents, computers, or electronic storage devices available to the FTC for

copying and forensic imaging.



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                   XXV. DISTRIBUTION OF ORDER BY DEFENDANTS

        IT IS FURTHER ORDERED that Defendants shall immediately provide a copy of this

 Order to each affiliate, telemarketer, marketer, sales entity, successor, assign, member, officer,

director, employee, agent, independent contractor, client, attorney, spouse, subsidiary, division,

and representative of any Defendant, and shall, within ten ( 10) days from the date of entry of this

Order, provide the FTC and the Receiver with a sworn statement that this provision of the Order

has been satisfied, which statement shall include the names, physical addresses, phone numbers,

and email addresses of each such person or entity who received a copy ofthe Order.

Furthermore, Defendants shall not take any action that would encourage officers, agents,

members, directors, employees, salespersons, independent contractors, attorneys, subsidiaries,

affiliates, successors, assigns or other persons or entities in active concert or participation with

them to disregard this Order or believe that they are not bound by its provisions.

                               XXVI.'EXPEDITED DISCOVERY

        IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R. Civ. P.

26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to Fed. R. Civ. P. 30(a), 34, and 45, the FTC and

the Receiver are granted leave, at any time after service of this Order, to conduct limited

expedited discovery for the purpose of discovering: (1) the nature, location, status, and extent of

Defendants' and Relief Defendants' Assets; (2) the nature, location, and extent ofDefendants'

business transactions and operations; (3) Documents reflecting Defendants' business transactions

and operations; or (4) compliance with this Order. The limited expedited discovery set forth in

this Section shall proceed as follows:

        A.      The FTC and the Receiver may take the deposition of parties and non-parties.

Forty-eight (48) hours' notice shall be sufficient notice for such depositions. The limitations and

conditions set forth in Rules 30(a)(2)(B) and 31(a)(2)(B) of the Federal Rules of Civil Procedure

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regarding subsequent depositions of an individual shall not apply to depositions taken pursuant

to this Section. Any such deposition taken pursuant to this Section shall not be counted towards

the deposition limit set forth in Rules 30(a)(2)(A) and 31 (a)(2)(A) and depositions may be taken

by telephone or other remote electronic means. The FTC may require that any such depositions

take place behind a U.S. government security perimeter, such as within a government office;

        B.      The FTC and the Receiver may serve upon parties requests for production of

Documents or inspection that require production or inspection within five (5) days of service,

provided, however, that three (3) days of notice shall be deemed sufficient for the production of

any such Documents that are maintained or stored only in an electronic format;

        C.      The FTC and the Receiver may serve upon parties interrogatories that require a

-response within five (5) days after service;

        D.      The FTC and the Receiver may serve subpoenas upon non-parties that direct

production or inspection within five (5) days after service;

        E.      Service of discovery upon a party to this action, taken pursuant to this Section,

shall be sufficient if made by facsimile, email, or by overnight delivery;

        F.      Any expedited discovery taken pursuant to this Section is in addition to, and is not

subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure and the Local

Rules of this Court. The expedited discovery permitted by this Section does not require a

meeting or conference ofthe parties, pursuant to Rules 26(d) & (f) ofthe Federal Rules ofc;iyil

Procedure;

        G.     The Parties are exempted from making initial disclosures under Fed. R. Civ. P.

26(a)(l) until further order of this Court; and




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         H.      The Parties shall treat all documents containing personal identifying information

 ("PH") of any individual as "attorney's eyes only." Although a name alone shall not constitute

 PII, a name along with a full residential address or phone number shall constitute PII.

 Furthermore, PII shall include any individual's social security number, tax identification number,

 driver's license number, sensitive health information, or financial account number. Such

 information shall not be made public and shall only be shared directly with a party if that party is

 unrepresented in this matter.

                            XXVII.          SERVICE OF THIS ORDER

         IT IS FURTHER ORDERED that copies of this Order as well as the Motion for

 Temporary Restraining Order and all other pleadings, Documents, and exhibits filed

 contemporaneously with that Motion (other than the complaint and summons), may be served by

 any means, including facsimile transmission, electronic mail or other electronic messaging,

 personal or overnight delivery, U.S. Mail or FedEx, by agents and employees of Plaintiff, by any

 law enforcement agency, or by private process server, upon any Defendant or any person

 (including any financial institution) that may have possession, custody or control of any Asset or

 Document of any Defendant, or that may be subject to any provision of this Order pursuant to

 Rule 65(d)(2) of the Federal Rules of Civil Procedure. For purposes of this Section, service upon

 any branch, subsidiary, affiliate or office of any entity shall effect service upon the entire entity.

              XXVIII.       CORRESPONDENCE AND SERVICE ON PLAINTIFF

         IT IS FURTHER ORDERED that, all correspondence, filings, or other documents

 related to this Order or the FTC's Complaint in this matter shall be served upon the FTC by

 serving them upon Jonathan Cohen, Benjamin J. Theisman, Amanda B. Kastner, and

 Khouryanna DiPrima via email, atjcohen2@ftc.gov, btheisman@ftc.g?v, akostner@ftc.gov, and

 kdiprima@ftc.gov regardless of whether such correspondence or other documents are or may be

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  served upon the FTC via the Court's ECF system or another way; however, if email is

  unavailable or impractical, such documents may be served via overnight delivery to Jonathan

 Cohen, Benjamin J. Theisman, Amanda B. Kastner, and Khouryanna DiPrima at Federal Trade

 Commission, 600 Pennsylvania Ave NW, CC 9528, Washington, DC 20580.

        XXIX. PRELIMINARY INJUNCTION HEARING AND OTHER HEARINGS

        IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 65(b), D~fendants shall
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 appear before this Court on the I q     day of C\[N~ I 20~ at               ~· IO I to
                                                                                     c;;     r.
 show cause, ifthere is any, why this Court should not enter a preliminary injunction, pending

 final ruling on the Complaint against Defendants, enjoining the violations of the law alleged in

 the Complaint, continuing the freeze of their Assets, continuing the receivership, and imposing

 such additional relief as may be appropriate.

         IT IS .F URTHER ORDERED that, unless the Court orders otherwise, all Individual

 Defendants shall physically appear at all hearings in the District ofMaryl'and.

    XXX. BRIEFS AND AFFIDAVITS CONCERNING PRELIMINARY INIDNCTION

        ·IT IS FURTHER ORDERED that:

         A.      Defendants shall file with the Court and serve on FTC's counsel any answering

 pleadings, affidavits, motions, expert reports or declarations, or legal memoranda no later than

 four (4) days prior to the show cause hearing scheduled pursuant to this Order. The FTC may

 file responsive or supplemental pleadings, materials, affidavits, or memoranda with the Court

 and serve the same on counsel for Defendants no later than one (1) day prior to the show cause

 hearing. Provided that such affidavits, pleadings, motions, expert reports, declarations, legal

 memoranda or oppositions must be served by email or overnight delivery, and be received by the

 other party or parties no later than 5:00p.m. Eastern Daylight Saving Time on the appropriate

 dates set forth in this Section; and

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         B.      An evidentiary hearing on the FTC's request for a preliminary injunction is not

 necessary unless Defendants demonstrate that they have, and intend to introduce, evidence that

 raises a genuine and material factual issue. The question of whether this Court should enter a

 preliminary injunction shall be resolved on the pleadings, declarations, exhibits, and memoranda

 filed by, and oral argument of, the parties. Live testimony shall be heard only on further order of

 this Court. Any motion by any Defendant or Relief Defendant to permit such testimony shall be

 filed with the Court and served on counsel for the other parties at least seven (7) days prior to the

 preliminary injunction hearing in this matter. Such motion shall set forth the name, address, and

 telephone number of each proposed witness, a detailed summary or affidavit revealing the

 substance of each proposed witness's expected testimony, and an explanation of why the taking

 of live testimony would be helpful to this Court. Any motion by the FTC to permit such

 testimony, or any response by the FTC to any motion by any Defendant or Relief Defendant to

 permit such testimony, shall be filed with the Court and served on counsel for the other parties'

 at least four (4) days prior to the preliminary injunction hearing in this matter. Any papers

 opposing a timely motion to present live testimony or to present live testimony in response to

 another party's timely motion to present live testimony shall be filed with this Court and served

 on the other parties at least two (2) days prior to the order to show cause hearing.

        Provided, however, that service shall be performed by email or overnight delivery, and

Documents shall be delivered so that they shall be received by the other parties no later than 5:00

p.m. Eastern Time on the appropriate dates provided in this Section.

                              XXXI. DURATION OF THE ORDER

        IT IS FURTHER ORDERED that this Order shall expire fourteen (14) days from the

date of entry noted below, unless within such time, the Order is extended for an additional period

pursuant to Fed. R. Civ. P. 65(b)(2).

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                     XXXII.        RETENTION OF JURISDICTION
        IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this malter for

 all purposes.
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                                                FEDERAL TRADE COMMISSION

                                   FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

Definitions and Instructions:

     1.    Complete all items. Enter "None" or "N/A" ("Not Applicable") in the first field only of any item that does not apply
           to you . If you cannot fully answ~r a question, explain why .

     2.    "Dependents" include your spouse, live-in companion, dependent children, or any other person , whom you or your
           spouse (or your children's other parent) claimed or could have claimed as a dependent for tax purposes at any
           time during the past five years.
                             .                                                                 .                                  .
     3.    "Assets" and "Liabilities" include ALL assets and liabilities, located within the United States or any foreign country
           or territory, whether held individually or jointly and whether hel.d by you, your spouse , or your dependents, or held
           by others for the benefit of you , your spouse, or your dependents.

     4.    Attach contihuation pages as needed. On the financial statement, state next to the Item number that the Item is
           being continued . On the continuation page(s), identify the Item number(s) being continued.

     5. Type or print legibly,

    6.     Initial each page in the space provided in the lower right corner,

    7. Sign and date the completed financial statement on the last page.


Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person;

        (1) "in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme. or devise a material fact;
makes any materially false, fictitious or fraudule nt statement or representation ; or makes or uses any false writing or
document knowfng the same to contain any materially false, fictilious or fraudulent statement or entry" (18 U.S.C. § 1001);

          (2) "in any . .. statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true" (18 U.S. C.§ 1621); or

         (3) "in any ( . . . statement under per;~alty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other Information .. . knowing the same to contain any false material
declaration" (18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federa l law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation , or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. § 3571.                      ·




                                                                      Federal Trade Commission Financial Statement of Individual Defendant

                                                        Allachment A to TRO
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                                                                                                                            1 of 10       Federal Trade Commission Financial Statement of Indi vidual Defendant

                                                                                                                         Attachmen t A to TRO
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    Item   6.   Employment Information/Emp loyment Income                                                                              .,           '                                          -·                '
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                                                                                      I                            I                        20                                $
    Ownership Interest?    0   Yes   0   No                                                                                                                                   $
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                                                                                          I                        I                                                          .~
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                                                                                2 of 10           Federal Trade Commission Financial Statement of Individual Defendant

                                                                              Attachment A to TRO
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 ttfi;fri 7. P:e.nQing lav.i~ults Flied By or Against You•oi' Yo.ur Spouse                                       I          __            '       .     ,              _       -..               _ ·
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         Caption of Proceeding                    Court or Agency and Location        Case No.                                 Relief Requested
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Item 8. safeJ:l~poslt , Boxes                  .,,~ ·                                              ··.                                   '''=''        ._        ·     ·
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           Name of Owner(s)                             Name & Address of Depository Institution                     Box No.                                         Contents




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                                                                          3 of 10       Federal Trade Commission Financial Statement of Individual Defendant

                                                                         Attachment A to TRO
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                                                               ' FINANeJAL.INFORMATION
REMiliiDER: When an ltern asks·for lnfoll1ilatfon regarding you~ •assets' amd "liatll\tfes· include ~as~ts and llp~)Jlt)es, lo~led wiihl1;1
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Item 9. Cash, Bank, and Money                      Ma~ket Accounts                                  .      . .                       -                       - ~- - ,.
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    b. Name on Account                               Name & Address of Financial Institution                                  Account No.                                  Current Balance

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Owner of Security                                                                          Issuer                             Type of Security                     No. of Units OW!'ied


Broker House, Address                                                                      Broker Account No.

                                                                                           ~urrent Fair Markel Value                   I   ~oan(s) Against Security


Owner of Security                                                                          Issuer                         I   Type of Security              I      No. of Units Owried

Broker House, Address                                                                      Broker Account No .

                                                                                        ' ~urrent Fair Market Value                    I   ~oan(s) Against Security

Owner of Security                                                                          Issuer                        _l Type of Security                 I No. of Units Owned
Broker House, Address                                                                      Broker Account No.

                                                                                           Current Fair Market Value                   I ~oan(s) Against Security
                                                                                           $




                                                                                                                                                                        Initials:

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                                                                            Attachment A to TRO
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     Item 11. Non-Public Business .and Financlallnter.ests                                            .        .
     ~ist all non-p0bllc tiusirw$s. a~j:l· nnaoc/al interests, lncjudlng· b~t. no( llmlled to any lhte·rest)n .a no:n;~ublfc corporation,. subch~pter-S corporation, litnited
      ability corporation ("LLC"), general or limited panners ~fp. Joint vent1,1re, sol(! proprietorship; inteina lonal bl.fsl,ess·cor;poratlor] or personal Investment
     GQrpoiQtlon. a~1d oil or minera/ 'lease.                                                                           ·        ,          =     ~.~-~"'" _ ...,.  .c
                                                                     Type of Business or Financial                   Owner                   Ownership              If Officer, Director. Member
                    Entity's Name & Address
                                                                    Interest (e.g., LLC. partnership)         (e.g., self, spouse)              %                      or Partner, Exact Tille
                                                                                                                                                  -
                                                                                                  .


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    _lt~JTd2 . . Ar:fio ... rts Owed to Yo~. Your Spouse, QLYo~:~.r, oepeildents                                             '·                                              _"-.--      ~"'
     Debtor's Name & Address                                         Date Obligation              Original Amount Owed             Nature or Obligation (if the res ult or a final court
                                                                  Incurred (MonthNear)           $                                 judgment or settlement, provide court name
                                                                            I                                                      and docket number)
                                                                  Curren! Amount Owed            Payment Schedule
                                                                  $                              $
     Debtor's Telephone                                           Debtors Relationship to You


     Debtor's Name & Address                                          Date Obligation             Original Amount Owed             Nature of Obligation (If the lesult of a final court
                                                                   Incurred (MonlhNear)           $                                judgment or settlement, provide court name
                                                                            I                                                      and docket number)
                                                                  Current Amounl Owed             Payment Schedule
I                                                                 $                               $
     Debtor's Telephone                                           Debtor's Relalionshlp to You

                                                                                                                                                      ····-       •" . : -

     Item 13: Life lnsllrance.Policies                                                     · ·                       -                                ll
                                                                                                                                                                  ·,r            -        ~.        .....   .......   I


                                         (lnoii!Jding er)dov.iment pdliol~s) with any 'c.<lsh surrender v;~lue.                          I
     List all .llfe [nsLirfmce poUcles·;
                                 '                                                -                                      :           ~                                                                          -         i
     Insurance Company's Name, Address. & Telephone No.                            Beneficiary                                       Policy No.                                 Face Value
                                                                                                                                                                                $
                                                                                    Insured                                          Loans Against Policy                       Surrender Value
                                                                                                                                     $                                          $

     lti'surahce Company's Name. Address. & Telephone No,                          Beneficiary                                       Policy No,                                 Face Value
                                                                                                                                                                                $
                                                                                   InsUred                                           Loans Against Policy                       Surrender Value
                                                                                                                                     $                                          $
                                                            -
    lt'm· 14. El~fei'te~ ltico-mi!!' Ar.rangements                           · · - ,. -            .        11   ~                       .,..''     ~"" · . ·•. .           ' ' :::="'
     ~lsi, aU.: def~rred inco~.e ' arr~~ef'l\e,nt~i including but rgt llrnited to, deferre9 '!nnu tl'e~-, pensions plan~,. prQfll-sha~[lQ 'plabs,.-'\01(k}· elftO~ .. IRAs, Kelrghs,
                                                                                                                                                           1

     gjher .r.~ltr"'m(ln t ~ccounls 1 · an~ c9(leg!ls~VIri~s plars (e.g., 529 ·Plans).                                                 ·                     ·-·                 •
    Trustee or Administrators Name, Address & Telephone No.                                      Name on Account                                  I   Account No.

                                                                                                 Dale Established             Type ol Plan                 Surrender Value before
                                                                                                   I   I                                                   Taxes and Pena !ties
                                                                                                 (mmlddlyyyy)                                              $
    Trustee or Administrator's Name, Address & Telephone No.                                     Name on Account                                  j Account No.

                                                                                                 Date Established            Type oi Pian                  Surrender Value before
                                                                                                    I   I                                                  Taxes and Penalties
                                                                                                                                                           ~.
                                                                                                                                              ~                                  ....          _,




                                                                                                                                                                                        Initials:

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  Item 15. Pending                l n~uranc~   Payments or.lnhertt._nces
  List any p~ndlng lnsl!ra~ce payments. or tnherit~nces owed to .you.
                                                                                                         ...,                         ;;       -
                                                                                                                                                                                    .~




                                                                                                                                                                                                      '
                                                                                                                             ;:

  Type                                                                                 .                                Amount Expected                       Date E)Cpected (mmlddlyyyy)
                                                                                                                                                                                                                   -

                                                                                              "                                                                 I    I
                                                                                                                        $
                                                                                                                        $                                          I        I

                                                                                                                        $                                          I        I

  Item 16. Vehic les
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                                                                                                                                                                                         ·-
                     --,; rnotoroyol~s:.ooats , . alrptanes,
  List all cars. trud<s,                                 .. and other·ve'I1Tctes.
                       I
   ~           .   '                 ~              ,'           ~                                                                                                                                                      c


  Vehicle Type                            Registered Owner' s Name               Purchase Price
                                                                                                                                  ~


                                                                                                                            Original Loan Amount
                                                                                                                                                                            ~



                                                                                                                                                                       Current Balance
                                                                                                                                                                                                   "
                           Year
                                                                                 $                                          $                                          $
  Make                                    Registration State & No,                                                          Current Value
                                                                                                                                                   -·                  Monthly Payment
                                                                                 AccounVLoan No.
                                                                                                                            $                                          $
  Model                                   Address of Vehicle's Location          Lender's Name and Address


                                                                             '
                                                                                                                        .
 Vehicle Type         I   Year           Registered Owner's Name                 Purchase Price
                                                                                 $
                                                                                                                            Original Loan Amount
                                                                                                                            $
                                                                                                                                                                       Current Balance
                                                                                                                                                                       $.                         .
 Make                                    Registratlon State & No.                AccounVLoan No.                            Current Value                              Monthly Payment
                                                                                                                            $                                          $
 Model                                   Address of Vehicle's Local! on          Lender's Name and Address




 Vehicle Type         I Year             Registered Owner's Name                 Purchase Price
                                                                                 $
                                                                                                                    Original Loan Amount
                                                                                                                    $
                                                                                                                                                                   Current Balance
                                                                                                                                                                   $
 Make                                    Registration State & No.                AccounVLoan No.                    Current Value                                  Monthly Payrnent                                         -
                                                                                                                    $                                              $
 Model                                   Address of Vehicle's Location           Lender's Name and Address

                                                                                                                                                                                                                                      II
                                                                                                                                                                                                                                      '
 Vehicle Type        I Year              Registered Owner's Name                 Purchase Price
                                                                                 $
                                                                                                                    Original Loan Amount
                                                                                                                    $
                                                                                                                                                                   Current Balance
                                                                                                                                                                   $
                                                                                                                                                                                                                                      I

 Make                                    Registration State & No.                AccounVLoan No.                    Current Value                                  Monthly Payment                                              I;
                                                                                                                    ~                                              $
 Model                                   Address of Vehicle's Location           Lender's Name and Address
                                                                                                                                                                                                                                ~·
                                                                                                                                                                                                                                 [•



                                                                                                                                                                                                                                 i

 l.tetn   w.       Other 'Pers'Onai . Property·                                                           _                 ... - ··1 ·                       ··        - •                    -= ,:··                 ., I
   t.lst ~II oft'~=tr personal 'property not listed in )!ems 9-16'by category, whethe,r held for personal use, lnllestrn~nl o..r. al)y~qlherre_ason. if]c:ludln!i                             burn~cil '               r ...
t: ll~lt(3d to cgins. stamp~. artwor~. g~m,,s_tone,s , J~~lry, ~ulllon, ~lher col!ect!bles,, copyrighls 1 fW!!nts.!-<!nd o~~er inlell~ual propeffi'.            I
                                                                                                                                                                                    -                     '    -                 I


     Property Category
                                           Name of Owner                                   Property Location                               Acquisition Cost                             Current Value
   (e.g., artwork, jewelry)                                                                                                                                                                                                 •         I


                                                                                                                                           $                                    $

                                                                                                                                                        - -                                               , .,.,
                                                                                                                                           $                                    $


                                                                                                                                           $                                    $




                                                                                                                                                                                    Initials:

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                                                                           Attachment A to TRO
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          -                                                                                                                                            ·I
    Item 18. Real Property                                                     '
    List   all real property,tnteresls (including any land contract)
    Property's Location                            Type of Property                          Name(s) on Title or Contract and Ownership Percentages



    Acquisition Date (mmlddlyyyy)          I ~urchase Price                            Current Value                         Basis of Valuation
       I   I                                                                       I$
    Lender's Name and Address                                          Loan or Account No.                                   Current Balance On Rrst Mortgage or
                                                                                                                             Contract
                                                                                                                             $
                                                                                                                             Monthfy Paym¢nt
                                                                                                                     .       $
    OtHer Mortgage Loan(s) (describe)                                     · Monthly Payment                                  D Rental Unit
                                                                           s
                                                                           Current Balance                          Monthly Rent Received
                                                                           $                                        $
    Property's LocatiOrl                          Type of P~operty                     Name(s) on Title or Conlracl and Ownership Percentages



    Acquisition Da te (mmlddlyyyy)
       I   I
                                           j :urchase Price                        I   ~urrent Value                         Basis o1 Valuation

    Lender's Name and Address                                          Loan or Account No.                                   Current Balance On Rrst Mortgage or
                                                                                                                             Contract
                                                                                                                             $
                                                                                                                             Monthly Payment
                                                                                                                             $
    Other Mortgage Loan(s) (describe)                                         Monthly Payment                                0 Rental Unit
                                                                           $
                                                                           Current Balance                                   Monthly Rent Received
                                                                           $                                                 $
~----------------~----------------------~------------------------~~----------------------------~ ,
                                           LIABILITIES
,Item 19. Credit Cards                                                                                           "                                                                               .,_   i
' ~is' each t;redjt card a~c04~t h!!ld by yoq, .Yo~r .spou5e, or your depend&nts:•. and ,any other credll ca~ds th,ljt y,ou, your.spou~e,. ·or your d,ependenls use..                                  i
    whether iss·~e·~_by a United Slates oHoreign financi,G~I instilutlqn.__        ,,. ·-- ~'    ,.                      .       r-       _,_, _ _   __ 't'~- _                               , ..
      Name of Credit Card (e.g., Visa,                                                                  Name(s) on Account                                        Current Balance
                                                            Account No.
1     MasterCard, Department Store)                                                                                                                                                       ~



                                                                                                                                                       $
                                                                                                                                                       $
                                                                                                                                                       $                                               '
                                                                                                                                                       $
                                                                                                                                                       $
                                                                                         I                                                  '(
    Item 20. Taxes Payable                                                                                 . /                        .                      '    f
    Us.l .a.II taxes, sUCh as lnC'ome taxes :or reaf estate taxes, •owed by you, your spouse A>r your deper:tdentS. ~:---                                   •;'
                                                                                                                                                                      ,..;:: __


                                 Type of Tax                                                 Amount Owed                                              Year Incurred
                                                                               $
                                                                               $
                                                                               $




                                                                                                                                                                                  Initials:

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 Item 21. Other Amounts Owed                         by 'r'!ou, Your Spouse, or Your Dep'e ndents                                                                   J                                        f
 ~lst · all other <!rnOUI')ts, notltsted eJ~eWhere In thl;s ~n,~ngtal_,~~!!tement, owe~ !?Y·YOO,,v,o·u~ sP.oUije, or your deperdenls.                                       1
                                                                                                                                                                                                    ~
 Lender/Creditor's Name, Address, and Telephone No.                      Nature of Debt (if'the result or a court judgment or settlement, provide court name and docKet
                                                                         number)


                                                                         Lender/Creditor's Relationship to You



 Da~e Ll~blllty Was      Incurred              I   Original Amount -Owed                    I   C$ urrent Amount Owed                     JPayment Schedule                            -
 (mm/dd/yyyy}                          $
 Lender/Creditor's Name, Address , and Telephone No.                     Nature of Debt (if the resull or a court judgment or settlement, provide court name and docket
                                                                         number)


                                                                         Lender/Creditor's Relallonshlp to You



 Date Liability Was Incurred
     I    I
                                               I ~riginal   Amount Owed                     I ~urrent   Amount Owed                       I PaymentSched~le
 (mm/ddlyyyy)

                                                                 OTHER FINANCIAL INFORMATION

 'I tem 22. T.rusts·and Escrows                                                                                                                                             i" .                        ,
 List all fUnds (lnd oU:w assets th~;~t are b_elng held ill t~.t or escrow by any person qr e.riti~ (or.you,. your spouse, or your dependents, ln~~Jl!J·any 1~9,~1
 retainers being held on your benalr by legal c:Ounsel. Also 1/s.t all funds or other assets. that art'l b~J.nQ hetd .iri trustor escrow,t\y you,•your ~~guse, or yoyr·
                                                                                                                                                                                                                 1

 dependents, for a!JY person or entliy.                         '"                                  ,."     , _                 ,_      . -      '" .i "                                                         1
                                                                Date Established
  Trustee or Escrow Agent's Name & Address                                              Grantor                   Beneficiaries                    Present Market Value of Assets•
                                                                 (mm/dd/yyyy)
                                                                   I  I                                                                       $




                                                                    I     I                                                                   $
                                                                                                                                                                                                                 '


~--~------------------~--,~~,----~----~---------------+-$----------------~1 :
                                                                                                                                                                                                                     li·

r---------------~------~--~--------~------------~~
 'If the market value of any asset is unknown, describe the asset and state Its cost, if you know it. . -··
                                                                                                            1.
 'lt~m, 23. lranst~rs ;pf ~ssets                   .. ' .     - . ,' ·~       '. ·. - - '               _,,   h      -     r   '- -                  .     I            '   I                   '::         P'        I
 Lst eacp person .or_\lnt].y tovmofh you h~,Y~ transfe~d. ln the -aggregate, more t~an $5;·ooo.ln fund~ prother a~ sets durlilg \Qe previ~us five years by                                      ..
 loap, gl~. sale, or oJtler' transfer (exclu~e orHinary and· necessary living ar:1d busTness expenses pald•to.unrelated                   llllrd parties)~ '· For each           sucl1 person or
 enlf~, ~1i:ll(1 , the total a('(iOU,flt traflSferted dUI:jng t)lal peno_d.                                                                   -c               .,           _                   ,

                                                                                                                               Transfer Date                        Type of Transfer
 Transferee's Name, Address, & Relationship                        Property Transferred          Aggregate Value•
                                                                                                                               (mmldd/yyyy)                         (e.g., Loan , Gift)
                                                                                                 $                              I     I




                                                                                                 $                              I     I
                                                                                                                                                                                                                 I
                                                                                                                                                                                                                 I
                                                                                                                                                                                                                 I


                                                                                                 $                              I     I

                                                                                                                                                                                            .
 ' If the marKet value of any asset is unk(lown, describe the asset an·d state its cost, if you know it.


                                                                                                                                                                                Initials:

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' item 24. Document Re·qu~~t~                                                            . ,.;
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                                                                                                                     A'' .              ,;.:''1,1   j(".'c'            ·~          .]~
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 ProVide cppfes of the follov.ing1Ciocuments Wilh y<!_ur COlT) Pie ted FJnanei~l Statement.                                                                  -- --- ..      ~     -     trn-            ·..(.          ,;
                   Federal tax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.
                   All applications for bank loans or o~her extensions of credit (other than credit cards) that you, your spouse, or your
                   dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.
 Item 9            For each bank account listed in Item 9,, all account statements for the past 3 years.
                   For each business entity listed in Item 11, provide (including by causing to be .generated from accounting records) the
 Item 11           most recent balance sheet, tax return, annual income statement, the most rece nt year-to-date income statement, and all
                   general ledger files from account records.                                         ----
                   All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance
 Item 17           purposes. You may exclude any category of property where the total appraised value of all property in that category is
                   less than $2 1000.
 Item 18           All appraisals that have been prepared for rea l property listed in Item 18.
 Item 21           Documentation for all debts listed in Item 21.
                                                                                                                                                                                                                                 -
                   All executed documents for any trust or escrow listed in Item 22. Also provide any appraisals. including insurance
 Item 22
                   appraisals that have been done for any assets held by any such trust or in any such escrow.
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                                                            SOMM~Rv Flfi~NCI~L scfi~Dt:JLES                                                                      ...                                                            -
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lt&m 25. Cort1bh"jed,f;1alaflC&
                                   ~~

                                Sheet for You, Your                           S~ouse, and            Your Depend~I!J,~ _,             ....
                                                                                                                                                         I
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                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                .';, ,
                             ,,         '~·'!":....                                              -                                '                                         ,.,   ~-                                        - -· J
Assets                                                                               Liabilities
Cash on Hand (Item 9)                                                     $          Loans Against Publicly traded Securities. (Item 1. OJ                                               $                             -
Funds Held in Financial Institutions (Item 9)                             $          Vehicles - Liens (Item 16)                                                                          $
U.S. Government Securities (Item 10)                                      $          Real Property- Encumbrances (Item 18)                                       ~                       $
                                                                                                                     -                              >•
Publicly Traded Securities (Item 10)
Non-Public Business and Financial Interests (Item 11)
                                                                          $
                                                                          $
                                                                                     Credil Cards (llem 19)
                                                                                     Taxes Payable (llem 20)
                                                                                                                                                                       -                 $
                                                                                                                                                                                         $
                                                                                                                                                                                                                   -
                                                                                                                                          --
Amounts Owed to You (Item 12) -                                           $          Amounts Owed by You (Item 21 )                                                                      $
Life Insurance Policies (Item 13)                                        _$          Other Liabilities (ltemlzo)                                                                                                                          I


Deferred Income Arrangements (Item 14)                                    $                                                                                                              $
Vehicles (Item 16)                                                        $                                                                                  -                           ,$
Other Personal Property (Item 17)                                         $                                                                                                               $
Real Property (Item 18)                                                  $                                                                                                               $_
Other Assets (Itemize)
                                                                                                                             ..
                                                                                                                                                                                         $                     -
                                                                         $                                                                                                               s                                 ,,
                                                                         $                                                                                                               $                                           ..
                                                                         $                                                                                                               $
                                                      Total Assets       $           Total Liabilities                                                                                  j                              '

: lt~m 2~. ,I, COWn~lne~· C.I.I~rent M~hthly ln~ome anj:i'E·~Renses'forN~~ ...Yo, or'S,po~se, a~-~ Your Dep~!J~eOW-                                                                                     cJ•<-:'             :
Provide the. cun' nt monthly Income and expenses ror you, your 'spouse, and your dependents. Do·not lnolude credlt'card ·payfll~mts separately; ·r.!:llhf:!l,
~n.!;[l!_d!LCredll card ~~p_en.~ltures In the ~eproprlate Categ'orles. · .  ;        .        , . , .. ,~   :·,           ' >~   {-                 -,      ,+...,


Income (State source of each item)                                                j:xpenses                                                                            ~-




Salary ·_After Taxes                                                              Mortgage or Rental Payments for Resldence(s)
                                                                     $                                                                                                                        $
Sou roe:                                                                                                                                                                                                                         -
Fees, Commissions, and Royalties                                                  Property Taxes lor Resldence(s)
Sou~ce:
                                                                     $                                                                                                                        s
Interest                                                                          Rental Property Expenses, Including Mortgage Payments, Taxes,
                                                                     $            and !nsuran,ce                                                                                              $
Source:                                                                                              -·
Divillends and Capital Gains                                                      Car or Other Vehicle Lease or Loan Paymenls
Source:                                                              $                                                                                                                        $
Gross R.ental Income                                                              Food Expenses
Source:                                                              $                                                                                                                        $
Profits from Sole Proprietorships                                                Clothing Expenses
                                                                     $                                                                                                                        $
Source:
Distributions from Partnerships, s-corporallons.                                 Utilities
and LLCs                                                             $                                                                                                                        $
Source:

                                                                                                                                                                                       Initials:


                                                                               9 of 10           Federal Trade Commission Financial Statement of Individual Defendant

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      .                                   . ':'\:.'•
                                        ~'-           '                          -                          .                          "

     lt,em· 26 .:. Comblne_p Gurrq,nt ·Mont lily lnceme and E xpe~ses for 'iou, Your ~p ouse, aQd-¥o..ur Depen!1ents                                                          (cqN·l
     D istributions from Trusts and Estates                                      IV1edical Expenses, Including Insurance
     S o urce:
                                                             $                                                                                                            $
     Di stribulfons rrom Deferred Income Arrangemen ts                           Other Insurance Premiums
                                                             $                                                                                                            $
     Source:                                                                                                                      ~

     S o cial Sec urity Payments                             $                   Other Transportll\1()1) Expenses                                                         $
     Alimony/Chi ld Support Received                         $                   Oth'e'r Expenses (ltomlze)                                                    ""   '~·

     Gambling Income                                         $                                                                                                            $
                                                                                                                        "

     Other Income (Itemize)                                                                                                                                               $
                                                             $                                                                                                            $
                                                             $                                                                                                            $
                                                             $                                                                                                            $
                                              Total Income                       Total Expenses
                                                                                                                                             -                            $
                                                                                                                                                                                       -
                                                             $
                           ....
               ·--:r:=.<-t'l'-'~ ~~;·· .r~··""'
                                                                     ,,.,                                 ~~.:c.>.,_.,.._.;,,.~
                                                                                                                                      ·~   ~':·- '~ '..j'."~•l!l

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I'       '1                                                      -
                                                                            + ATlAC HMENTS
l,                                     ,,,
                                      m                                        ,,,                                           'i-f,
                                                                                                                                                     ,,. ,,,
' Item 27. Doc limen~ Attached'to this r:lnanctal Statement                                 -                            ,,                                                     •:''
       document~ that a(.e be.in9 ·subr:nlned wil h this fi nancia l stat~menl . Fo~ any l!em 24·docuhil:lnts that.are not altached : !'Jxplaln wtiy.
. 'List all                                                                                                                                                                                -
     Item No. Document Rel ates To                                                                  Description of Document



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                                                                                                                                                                                               '




         .
     '




          I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
 Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
 responses I have provided to the items above are true and contain all the requested facts and i.nformation of which I have
 notice or knowledge . I have provided all requested documents in my custody, possession, or control. I know of the
 penalties for false statements under 18 U.S.C. § 1001,18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
 and/or fines) . I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct .


 Executed on:


 (Date)                                                              Signature




                                                                              1o of 10     Federal Trade Commission Financial Sta tement of Individual Defendant

                                                                             Attachme nt A to TRO
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                                            FEDERAL TRADE COMMISSION

                              FINANCIAL STATEMENT OF CORPORATE DEFENDANT



Instructions:

1.       Complete all items. Enter "None" or "N/A" ("Not Applicable") where appropriate. If you cannot fully answer a
         question, explain why.

2.       The font size within each field will adjust automatically as you type to accommodate longer responses.

3.       In completing this financial statement, "the corporation" refers not only to this corporation but also to each of its
         predecessors that are not named defendants in this action.

4.       When an Item asks for information about assets or liabilities "held by the corporation," include ALL such assets
         and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
         benefit of the corporation.

5.       Attach continuation pages as needed. On the finandal statement, state next to 'the Item number that the Item is
         being continued. 0~ the continuation page(s), identify the Item number being continued.

6.       Type or print legibly,

7.       An officer of the corporation must sign and date the completed financial statement on the last page and initial
         each page in the space provided in the lower right comer.




Penalty for .EJlalsc Jnfor,•nntion:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        ( 1) "in any matter within the jurisdiction of any department or agency of the United States knowingly and
        willfully falsifies, conceals or covers up. by any trick, scheme, or device a material fact, or makes any false,
        fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
        same to contain any false, fictitious or fraudulent statement or entry" ( 18 U.S.C. § 1001 );

        (2) "in any ... statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
        willfully subscribes as true any material matter which he does not believe to be true" (18 U.S.C. § 1621 ); or

        (3) "in any( . .. statement under penalty of perjury as permitted under section 1746 of title 28, United States
        Code) in any proceeding before or ancillary to apy court or grand jury ofthe United States knowingly makes any
        false material declaration or makes or uses any other information ... knowing the same to contain any false
        material declaration." (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 U.S.C. § 3571.




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                                           .UACl<GROUND l NFORMAT.TON


Item 1.            General Information

Corporation's Full Name
                           ----------------------------------------------------------
Primary Business Address - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - From (Date) _ _ __

Telephone No. - - - - - - - ---- - - - Fax No. ---'-'----------------
E-Mail Address                                   .· Internet Home Pagl:)._ _ _ _ _ _ _ _ __

All other current addresses & previous addresses for past fi~e years, including post office boxes and mail drops:

Address                                                                              From/Until~-~-----~---

Address
          ------------------------------------------ From/Until~-------
Address                                                                              From/Until
                                                                                                ~~---~-----

All predecessor companies for past five years:

Narrie & Address ---------------------------~------ From/Until _______

Name & Address                                                                             From/Until --------

Name & Address                                                                             From/Until '"'--- - - - -


Item 2.            Legal Information

Federal Taxpayer ID No.------'----------- State & Date of Incorporation - - - - - -- - - -

State Tax ID No. ---------- State -------- Profit or Not For Profit - - - - - - - - - - - - -

Corporation's Present Status: Active ----------- Inactive _________ Dissolved - - - - -- - --

If Dissolved: Date dissolved                                   By Whom ------------------------

Reasons _ _ _ _ _ _ _ _ _________________~-----~----------~~~~------

Fiscal Year-End    (Mo./Day) ~
                             . ______             Corporation's Business Activities _____----::c---------,-----


                   Registered Agent

Name of Registered Agent ----------------------------,--------- - - - - - - - - - - - - - -

Address --------";.__------'-"---'---------'------- - - - - ---- Telephone No. -------------




          Page 2                                                                          Initials - , - - -
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Item 4.            Principal Stockholders

List all persons and entities that own at least 5% of the corporation's stock .

                                            .Name & Address                                                  %Owned




Item 5.            Board Members

List all members of the corporation's Board of Directors.

                                   Name & Address




Item 6.            Officers

List all of the corporation's officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

                                            Name & Address                                                  %Owned




          Page 3                                                                            Initials
                                                                                                       ----
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Item 7.            Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.


                                   Name & Address                                        Business A ctivities     % O wned




State which of these businesses, if any, has ever transacted business with the corporation - - - - - - -- - -




Item 8.            Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation's principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4- 6 above) have an ownership interest.


  Indiv idu al s N ame                    Bus'iness   Name&. A'ddress                     Business Activiti.e s   % Owned




State which of these businesses, if any, have ever transacted business with the corporation --------~..=.:




Item 9,            Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A "related individual" is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers' (i.e., the individuals listed in Items 4 - 6 above).


                            Name and Address                                  Relaticmsliip          B11 iqess.Acl·i¥.ilies




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Item 10.          Outside Accountants

List all outside accountants retained by the corporation during the last three years.


                                                                              Address                          CPA/PA?




Item 11.          Corporation's Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation's financial books and records for
the last three years.

                             Name. A~klrcs . & Telephone NumhCJr                                        Po 1rton(s) H:eld




Item 12.         Attorneys

List all attorneys retained by the corporation during the last three years.


                                       Firm Name                                        Address




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                                                                                                      ----;----
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Item13.             Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party's Name & Address._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___:_::_c:;__ _

Court's Name & Address:__ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ __ _ _ __ _ __ _ __ -..,.

Docket No. _ _ _ _ _ __.;-Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ __

----------------S~tus. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~--


Opposing Party's Name & Address:__ _ __ _ __ _ _ _ _ _ _ _ __ _ _ __ _ _ _ _ _ __

Court's Name & Address._ _..:...__ _ _ _ _ _ _---'" - ' " ; ; ; ; ; _ - - -- - - '' - . = - - - - ' " - " - = - - . . . . ; ; ; . . . - - -- - - -

Docket No . _ _ _ _ __ _ Relief Re-questc9_
                                          · - - - - - - - - Nature of Lawsuit._ _ _ __ _ __

- - - - - : - - - - - - - - - - - Status._ _ __ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __:__ _ _ _ _ _ _ _ _ __

Court's Name & Address,_ _ _ __ __ _ _ _ __ _ _ _ _ _ _ _ __ _ _ ____::_:__:___.::___=--

Docket No . _ _ _ _ _ _ _ Relief Requested._ _ _ __ _ _ _ _ Nature of Lawsuit._ _ _ _ _ _ _--,-

~-------------- Status._--'-----------------'------
Opposing Party's Name & Address. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __

Court's Name & Address._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __ _ _ _ _ _ _ _ _ __ _

Docket No. ________ Reliefi{(3qLJested _ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ __ _ ----'-

_____ _ ____________ Status._ _ _ __                                             ~--------------~.::__=-

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ __ _ _ __ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address._ _ _ _ _ _ _ _ _--'=--- - - - - - - - - - - - -- -- - - - - -

Docket No"·- - - - - --                 Relief;R.cqu~~teq, _ _ _ _ _ _ _ _ _ Nature                   of Lawsuit._ _--'-"'----- - -
_________________ Struus:__ _ _ _ _ _ _ _ _ __ _ __ _ _ _ _ _ _ ___

Opposing Party's Name & Address._ __ _ __ _ _ _ _ _ _ _ _~--------___:__ __

Court's Name & Address._ _ _ _ _ _ _ _ _____,,---- - - - -- - - - - - - - - - , - - " ' - - - - -

Docket No . _ _ _ _ _ _ _ ReliefReqpesEed._ _ _ _ _ _ _ _ _ Nature of Lawsuit._ _ _ _ _ _ __

- - - - - - - - - - - - - - - Status._______________________:,___ __


         Page 6                                                                                              Initials _ _ __

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Item 14.         Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have be.en filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 ~ 27).

Opposing Party's Name & Address~---------------------------·

Court's Name & Address._ _ _ _ _ _ _ __ _ _ _ _ _ _ __ __ __ _ __                                  ~-------


Docket No . _ _ _ _ _ _ _ Relief Hequcstt:d. _ _ _~-~--=--- Nature of Lawsuit,..;:;,·· - - - - ' - ' - - - - -

--- - - - - - - - - - - ------- Status._____________~-------------~--

Opposing Party's Name & Address._ _ _ _ _ _ _-'--------'----- - -- -- - - - - - - - - -- -

Court's Name & Address._ _ _ _ _...:.....:'---------~--_:____ _ " - - - - - - - - - - - - - ' - -

Docket No. _ _ _ _ _ _ _ Relief Requested._ _ _ _ _ _ _ _ _ Nature of Lawsuit·--=---=---=:....:.--

______ _ __ _ _ _ _ _ _ S t·alu s~------------------------

Opposing Party's Name & Address._ _ _ _ _ _ _-'---- - - - - - - ' - - - - -- - -- - - - -
Court's Name & Address. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ __ _ _ _ _ _ _ _ _ _ _ _ __

Docket No . ____ _ _ _ _ Relief Requested._ _ _ _ _ _ _ _ _ Nature of Lawsuit._ _ _ _ _~_ __.

- - - - - - - - - - - - - - - Status._ _ __ _ __ _ __ _,____ _ _ _ _ _ __ _ _ __

Opposing Party 's Name & Address._ _ _ _ _ _ __ __ _ __ _ _ _ __ _ __ _-=-----_;__



Docket No . _ _ _ _ _ _ _ Relief Requested._ _ _ __ _ _ __ Nature of Lawsuit._ _ _ __ _ __

- - - - - - - - - - - -- - - - Status_ _ _ _ _-::----,---~------"--"------
Opposing Party's Name & Address._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-.,-_ _

Court's Name & Address._ __ _ _ __ _ _ __;;__~------------------'---

Docket No. _ __ _ _ _--:- Relief.Requested _ _ __ _ _ _ _ _ Nature of Lawsuit.---'"--~"":':':"---==--___:_;

---------------- St~us~---------------------------
Opposing Party's Name & Address._ _ _ _ _ _ _ _ _ _ _ _ _ _ __.:_________________

Court's Name & Address,_ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ __

Docket No . _ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ ___ Nature of Lawsuit._ _~-----

_____________________________                  St~us.____~----------------~~~--~~~=---------



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Item 15.          Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date
                        -------------- Termination Date -------------- Docket No. ---------------
If State Court: Court & County ------------------ If Federal Court: District -------------------

Disposition --------------- - -------------------------__;;._____________________


Item 16.                   Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents ofeach box.

Owner's Name               Nnr:ne &.Ad~ ress ofD 'pQsltocy-lnst1tution                                                 Box No.




                                                 FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities "held by the corporation," include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.                            ·

Item 17.          Tax Returns

List all federal and state corporate tax returns filed for the last three c-omplete fiscal years. Attach copies ofall returns.

   Federal/      Tax Year         Tax Due       TaxPn id        Tax Due          Tax Pnid          'Prcpnrcr's!N'ame
   tate/9oth                      Federal        federal         State            State

                             $              $               $               $

                             $              $               $               $

                             $.             $               $               $




        Page 8                                                                                  Initials------
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Item 18.           Financial Statements
                                                                                                                                       I.
List all financii1l statements that were prepared for the corporation's last three complete fiscal years and for the current
fiscal year-to-date. Attach copies ofall statements, providing audited statements if available.
                                                                                                                                       I
    Year        Bal1lllce Sheet     Profit & Loss Statement     Cash Ti!ow Statement    Ch ~inge;-:i' in   Own·cr s Eqtiity Audlted1




Jtem 19.           Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the"corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
information.
                                  Current Year-to-Date         1 'hat Ago                                          · 3 Y.ea r A!?.o
 Gross Revenue                $                          $                         $                             $....._ _ _ __
                                                                                   · - - - -- -
 E;Weo es                     $                          $                         $...___ __ _ _                $._ __ _ _

 Net Profit Afte r Taxes      $

 Payable                      $

 Receivab les                 $

Item 20.           Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term "cash" includes currency and uncashed checks.



  Name & Add ress of Fimu1cial Instittttton                  Si gnatm{s), on Accol.ml              Account No.            Current
                                                                                                                          Balance
------------------------~------------~~~----~~---·----------- $--~----
---------------------------------------------------------~------------ $ _________
                                                                                                                     $
--------------------------------~-------------------------~~--------- --------~

---------------------------------------------------------~·____________ $_________




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Item 21.         Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer _ _ _ _ _ _ __ __ _ __ _ Type of Security/Obligation - - - - - - - - - - - -- -

No. of Units Owned                  Current Fair Market Value $
                      ----~--                                    ------------- Maturity Date _ _ _ _ _ __
Issuer _ _ _ _ _ _ _ ________ Type of Security/Obligation - -- - - - = - - - - -- - -- -

No. of Units Owned ______ Current Fair Market Value$_ _ _ _ _ _ _ _ Maturity Date -------- -


Item l2 ..       Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property_ __ _ __ _ _ _ _ _ ___ Property's Location._ _ _ _ _ __ _ _ _ __ __

Name(s) on Title and Ownership Percen1ages._ _ _ _ _ _ _ __ _ _ __ __ _ _ _ _ _ _ _ _ __

Current Value$_____________ Loan or Account No. - - - -- - -- - - -- -

Lender's Name and Address._ _ _ _ _ __ _ _ _ _ _ _ ____:._ _ _ __ _ __ _ _= - - - - - - -

Current Balance On First Mortgage $._ _ __,_-'--__ Monthly Payment$__________

Other Loan(s) (describe),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~- Current Balance$._..:..=-:'-----"-----

Monthly Payment$.__________ Rental Unit?,_.--------~ Monthly Rent Received $·______



Type of Property_.---------------Property's Location._ __ _ _ _ _= - - - - - - -

Name(s) on Title and Ownership Peteenfages. ________________________ _

Current Value$_ _ _ _ _ _ _ _ _ Loan or Account No. - - - ' - - - - - - -- - -

Lender's Name and Address._ _ __ _ __ __ __ _ _ _ _ _ _ _ _ _ _ _ _ _ ____:___:._ _::.___

Current Balance On First Mortgage $________ _ Monthly Payment $_ _ _ _ __

Other Loan(s) (describe),_ _ _ _ _ _ _ _ _ _ __.;_----=-- - - - Current Balance$_ _ _ _____,;;....__

Monthly Payment $_ _ _ _ _ _ __ Rental Unit?_ __ _ _ _ _ Monthly Rent Received $_ _ _ _ _..-o




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Item 23.           Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

                                                           P.rop-crty Locati'ou                       Acquisition          Current
                                                                                                         Cost              V alue


                                                                                                  $                 ,$

                                                                                                  $                 .$

                                                                                                  $                  $

                                                                                                  $                 $,

                                                                                                  $                 ,. $

                                                                                                  $                  $

                                                                                                  $                  $.

                                                                                                  $                  $

                                                                                                  $                  $


Item 24.           Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.


                                                          De onip:t ien·nnd Location of Assets               Present Market
                                                                                                             Value of Assets

_______________________________________________________________ $______________

_______________________________________________________________ $______________


--------------------------------------------~~--------------- $----------~--
--------------~-------------- --~~------------------------- $------~--~-
__________________________________________________________________ $______________

_______________________________ ________________________________ $______________

__________________________________________________________________ $_______________




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Item 25.         Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party's Name & Address._ _ _ _ _ _ _ _ _ _ _ __ _ __ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address:__...;,__ _ _ _ _ _ _ _ _ _ _ _ _ _ __ .;.__ _ Docket No,\-_ _ __ _

Nature of Lawsuit._ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment'--'--,...-~~___.,~ Amount $,....._-'-----'---

Opposing Party's Name & Address. _ _ _ _ _ _ _ _ __ _ __ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Docket No . _ _ __ _ _

Nature of Lawsuit._ __ _ _ _ _ _ _ __ __ Date of Judgmen:t,·.__- - -- - - Amount $._ _ ____::...._;



Item 26.         Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party's Name & Address._ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ __

Court's Name & Address                                                                    Docket No .____ __

Nature of Lawsuit. _ _ _ _ _ _ __ _ _ _ __ __:____ Date._ _ _ _ _""- Amount$. _ _..;;.;__-'--

Opposing Party's Name & Address'- - - - - - - - - - -- - - - - -- - - - - - - - - - - " " <

Court's Name & Address·---~~~-----'------=-------""----·· Docket No ._____ _

Nature of Lawsuit_ _ _ _ _ __ __ __ _ _ Date of JtTqgm ~nt._
                                                           - _ _ _ _ _ _ ·Amount $._ _ __ _



Oppo~ngParty'sName&Addre~---------------------------
Court's Name & Address._ _ _ _ __ _ __ _ _ _ _ _ _ __ _ _ _ _ _ Docket No.: __ __ __

Nature of Lawsuit_ ___,,---- - - - - - -- - Date of JLJdgm (':rH._ _ _ _ _ __ Amount$.......__ _ __

Opposing Party's Name & Address._ _ __ _ _ _ __ _ __ _ _ _ _ _ _ __ _ _ _ _--:-- - -

Court's Name & Address,___ _ _ __ _ __ _ _ _ __ _ _ __ _ _ _ _ Docket No.~------

Nature of Lawsuit._ _ _ _ __ __ _ _ _ _ _ Date of Judgmentc...
                                                            · ------Amount$._ _ _ __

Opposing Party's Name & Address._ _ _ _ _ _ _ _ _ _ _ _ __ _ _ __ _ _ _ _ __ _ __ _

Court's Name & Address·- - - - -- - - - - - - ' - - - - - - - - - -- -                   Docket No . _ _ __ _
Nature of Lawsuit:__ _ _ __ _ _ _ _ _ _ _ Date of Judgment._ _ _ _ _ _ _ Amount$._ _ __ _



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Item 27.          Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency------------------~· Contact Person - - - - - - -- -- -

Address                                                                                   Telephone No.
           -------------------~---------                                                                  - - - ------
Agreement Date _______ Nature of Agreement - - -- -- - - - -- - -- - - - -- -- -


Item 28.         Credit Cards

List all of the corporation's credit cards and store charge accounts and the individuals authorized to use them.

             Name of Credit Card or Store                        Names of Authorized Users and Positions Held




Item 29. ·       Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. "Compensation" includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. "Other benefits" include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

           Name/Position               Curren'! ·.iscal   I Year· A!!~      2 Years Ago          Compensati<'lA .or
                                       Year-to-Date                                               'f;ype ef l3eneiits

__________ _ _ __ $______. $.______ $_~-----------------------

-------------- $--------~ $_ _ ___ $_______ ,_ _ _ _ __________

_______________________ $__________ $_________ $_____________________________                                            ~




--------------'------$____,c..__ _ _ _ $.________ $________ ---------------------

_____________________ $~------- $ ________ $_________ ~-----------------




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Item 30.         Compensation ofBoard Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. "Compensation" includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. "Other benefits"
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.


            Name/Position                 Cuir¢nJ'Piscal        1 _Yefl~Ag.o       2 Years Ago         Compeflsoti0n or
                                          Year-to-Date                                                  type or'B:eneiits

                                      $                     $                  $

                                      $                     $                  $

                                      $                     $                  $

                                      $                     $                  $

                                      $                     $                  $

                                      $                     $                  $

                                      $                    _$                  $

                                      $                    $                   $

Item 31.         Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.


 Transfero.c!s·Name. Addi·css. & Re lationsbip            Property                 Aggregate-    Transfer    T~p.e of Transfer_
                                                         Transferred                 Value        Date       fe,g, Loan. Gi lt1


----~----"---.,.-------::----------$_ _ _ _ _ _ __ _ _ __ _ _ __



-----------------------~-------- $                                             ______________~----------
-----~~--------------------------------- $                                     _____________________~----~~·
- -- - - - - - - - - - - - - - -- - - - - -- $________________'-'-'---- -


- - - - - - -- - - - - - - - - - - - - - -- - - - - $___________________



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Item 32.           Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.


  h em No. Document       Descri ption of Document
      Relates To




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
CoiT]rriission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penahies for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fmes ). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:


(Date)                                             Sigriatute



                                                   Corporate Position




         Page 15                                                                             Initials _ _ __

                                                      Attachment B to TRO
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 Form       4506                                                 Request for Copy of Tax Return
(September 201 B)                                  .,.. Do not sign this form unless all applicable lines have been completed.                        OMS No. 1545-0429
                                                           .,.. Request may be rejected if the form Is Incomplete or Illegible.
 Oapa~menl o/ th e Treas~ ry
 Internal Rovenue SeNice                             .,.. For more information about Form 4506, visit www.irs.gov/form4606.

Tip. You may be able to gat your tax return or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the return. The IRS can provide a Tax Return Transcript tor many returns free of charge. The transcript
provides most of the line entries from the original tax return and usually contains the information that a third party (such as a mortgage company)
requires . See Form 4506-T, Request for Transcript of Tax Retum, or you can quickly request transcripts by using our automated self-help service
tools. Please visit us at IRS.gov and click on "Get a Tax Transcript..." or call1-800-908-9946.

    1a Name shown on tax return. II a joint return, enter the narne shown first.                           1b First social security number on tax return,
                                                                                                                individual taxpayer Identification number, or
                                                                                                                employer identification number (see Instructions)



    2a      I    a jo nt return, enter spouse's name show n on tax return.                                 2b Second social security number or Individual
                                                                                                               taxpayer identification number if joint tax return


    3 Current name, address (Including apt., room, or suite no.), city, state, and.·ZIP code (see instructions)



    4 Previous address shown on the last return filed If different fi'om line 3 (see -i nstructions)



    5 If the tax ret urn Is to be mailed to a third party (slloh as a mortgage company), enter the third party's name: address, and telephone number.



 Caution: If the tax return is belng mailed to a third party, ensure that you have filled In lines 6 and 7 before signing. Sign and date lhe form once you
 have filled in these lines. Completing these steps helps to protect your privacy. Once the IRS discloses your tax return lo the thlrd .party listed on line
 5, the IRS has no control over what the third party does with the Information. If you would like to limit the third party's authority to disclose your return
 information, you can specify this limitation in your written agreement with the third party.                     ·

    6           Tax return requested. Form 1040, 1 120, 941 , eta. and all attachments as originally submitted to the IRS, rncludlng Form(s) W-2.
                schedules, or amended rewrns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
                des royed by law. Other returns may be available for a longer pe riod of time , Enter only one return •lUmber. If you need more than one
                type of return, you musi complete another FOrfTI 4506. "" - - - - - - - - - - - - - - -
                Note: If the copies must be certlfleq for court or administrative proceedings , check here                                                            0
    7           Year or period requested. Enter the ending date of the yeiir or period, using the mm/dd/WYY format. If you are requesting more than
                eight years or periods, you must attach another Form 4506.




    8           Fee. There is a $50 fee for each return requested. Full payment must be included with your request or it will
                be rejected. Make your check or money order payable to "United States Treasury." Enter your SSN, !TIN,
                or EIN and "Form 4506 request" on your check or money order.
        a       Cost for each return       ,                                                                                                 $             50.00
                                                                                                                                           ~------~-----­
        b       Number of returns requested on line 7 .
        c       Total cost. Multiply line 8a by.Une Bb .                                                                                     $
    9           If we cannot find the tax return, we will refund the fee. If the refund should   go to the third party listed on line 5, check here                   0
Caution: Do not sign this form unless all applicable lines have been c_ompJeted.
Signature ol1axpayer(s). I declare -that 1am elther the taxpayer whose name is shown an line 1a or 2a, or a person a11lhorized to ob!Bin the lax return
requested . If the request applies loa joint return, at least one spouse must sign. If slgnad by a corporate officer, 1 percent or more shareholder, partner,
managing member, guardian, ta>e matters partner , execUt(lr, receiver, administrator, trustee, or partY ot~er than the taxpayer, I certify I hall have the authority to
execute Form 4506 on behalf of the taJ<payer. Note: This form must be received by IRS withfn 120 days of the slg11ature date.
D   Signatory attests that he/she has read the attestation clause and upon so reading
    declares that he/she has the authority to sign the Form 4506. See instructions.                                                Phone number of taxpayer on line
                                                                                                                                   1a or 2a


Sign               ~ Signature (see lnstn,rctfons)                                                     Daio
Here
                   ·~· Titre;,, llno 1a abovo Is a corporation, pal1nership, estat~, or trust)
                   ~- Spouse's signature                                                               Date
For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                           Cat. No. 41721 E                       Form   4506 (Rev. 9·2018)
                                                          Attachment C to TRO
         Case 8:18-mc-00032 Document 2 Filed 11/29/18 Page 79 of 91 Page ID #:159

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 Form 4506 (Rev. 9-2018)                                                                                                                                                         Puge   2
Section references are to the Internal Revenue Code              Chart for all other returns                                        Corpora/Ions. Generlllly, Form 4506 c9n be
unless otherwise noted.                                                                                                          signed by: (1) an officer having legal authority to bind
                                                                If you lived in                                                  the corporation, (21 any person daslgnated by the
 Future Developments                                            or your business                   Mail to:                      board a! direr.tors or other govemlng body, or (3)
For the latest Information about Form 4506 and Its              wasln:                                                           any oftlcer Or employee on wrlhen request by any
inslfuctions. go to www.lrs.gov/form4506.                                                                                        principal olfk:er and attested to by the SOO/Cl!IIY or
lnformarion about any recent developments affecting                                                                              other otllcer. Abona lido sliarehofder of record
                                                                Alabama, Alaska,                                                 owning 1 percent m more or the outstanding stock
Form 4506, Form 4506-T and Form 4506T-EZ will be                Arizona, Arkansas,
posted on that page,                                                                                                             of tho corporation may submit a Form 4505 but rnust
                                                                California, Colorado,                                            provide documentation to support the requester's
                                                                Connecticut, Delaware,                                           right to receive the Information.
General Instructions                                            District of Columbia,
                                                                                                                                    Portnarshlps. Generally, Form 1\506 can be
                                                                Florida, Georgia, Hawaii,
Caution: Do not sign this form unless all applicable            Idaho, Illinois, Indiana,                                        signed oy any person who was o member of the
Jines have been completed.                                      Iowa, Kansas, Kentucky,                                          partnership dUring any part of the tax period
 Purpose ol rarm. Use Form 4506 to·rnl:lui!lsl a copy           Louisiana, Maine,                                                requested on fine 7_.
 q'f ypur Ill>! r<itUrn. You co'n nlso CJ~tg(lato (on line 5)   Maryland,                                                           All othors. See section 61 D3(e) ~the tBltpayer has
 a (hifd pllfty iti receive the tax return .                    Massachusetts,                                                   died, Is Insolvent, Is a dissolvild corporation, or If a
 How long will It take? It may take up to 75                    Michigan, Minnesota,                                             trustee, guardian, eKecutor, receiver, or
 calendar days for us to process your request,                  Mississippi,                                                     administrator Is acting lor the taxpayer.
                                                                Missouri, Montana,
 Tip. Use Form 4506-T, Request for Transcript of TEll<          Nebraska, Nevada, New                                            Note: If you are Heir at la\V. Next ot kin, or
 Return, to request tEll< return transcripts, tax account       Hampshire, New Jersey,                                           Ben!lficiary you must be able to establish a material
 information, W-2 Information, 1099 information,                New Mexico, New York,              internal Revenue Service      Interest in the estate or trust.
 ver~lcatlon ol nonflling, and records of account.              North Carolina,                    RAIVSTeam                     Documentation. For entHies other than Individuals,
 Automated transcript request. You can quickly                  North Dakota, Ohio,                P.O. Box 9941                 you must attach the aJJth0rlZat1on document. For
requost transcripts by using our automated seij-help            Oklahoma, Oregon,                  Mall Stop 6734                OJ<.ample, lhls could be the let1er lrom the principal
 R!!rvlce tools. Please visit us at IAS.gov and click on        Pennsylvania, Rhode                Ogden, UT 64409               olflc·tn authorizing an employee o1the cO<poratlon or
 "Get a Tax Transcript ... " or calll-800-908-9946.             Island, South Carolina,                                          lhe letlers testamentary authorizing an individual to
                                                                South Dakota,                                                    act for an estate.
 Where to file. Attach payment and mail Form 4506               Tennessee, Texas, Utah,
 to the address below for the state you lived In, or the                                                                         Signature by a representative. A representative
                                                                Vermont, Virginia,                                               can sign Form 4505 for a lW<payer only il this
·state your bu~lnP.S~ was in, When that return was              Washington, West
filed. There oro two address chails': one tor                                                                                    authority has been speolfloally dolegaled to the ·
                                                                Virginia, Wisconsin,                                             representatll!a on FOf!l121l48, lfne 5. Form 2848
individual returns (Form 1040 series) and one for all           Wyoming, a foreign
 other returns,                                                                                                                  showing Hte delegation must ba attacred to Form
                                                                country, American                                                4506.                        .
    If you are requesting a return for more than one            Samoa, Puerto Rico,
year or period and the chart below shows two                    Guam, the                                                        Privacy Act and Paperwork Reduction Act
different addresses, send your request to the                   Commonwealth of the                                              Notlce. We ask for the information on this form to
address based on the address of your most recent                Northern Mariana                                                 establish your right to gain access to tho requested
return.                                                         Islands, the U.S. VIrgin
                                                                                                                                 rei!Jrn(s) under the Internal Revenue Code. We need
                                                                Islands, or A. P.O. or                                           this tnlormatloo to propocty ldljfltlty the retum(s) and
Chart for individual returns                                    F. P.O. address
                                                                                                                                 respond to your request. II you request a copy ol a
(Form 1040 series)                                                                                                                tax return , sections 6103 and 6109 rliqlJire you to
If you filed an                                                                                                                  provide this Information, JnchJdlng your SSN or EJN,
individual return                 Mail to:                      Specific Instructions                                            to process your request if you do not provide this
                                                                                                                                 Information, we may not be able to process your
and lived in:                                                   Line 1b. Enter your employer Identification number               request. Providing false or fraudulent Information
Alabama, Kentucky,                                              (EIN) if you are raquo$ting a copy of a business                 may subject you to penalties.
Louisiana, Mississippi,                                         rotLirn. Othetwl.se, enter the first soclnl soourlty                 Routine uses of this Information Include giving it to
Tennessee, Texas, a                                             number (SSN) or your Individual taxpayer                         the Deparlmont of Justice lot civil and crtminal
foreign country, American        Internal Revenue Service       Identification number (ITIN) shown on the return. For            litigation, and cities, states, tho Olstrtct ol Columbia,
Samoa, Puerto Rico,              RAIVS Team                     example, if you are raQ!JeSting Form 1040 that                   and U.S, commonwealths and possessions for use
Guam, the                        Stop 6716 AUSC                 includes Schedule C (Form 1040), entor your SSN,                 In administering their tax laws;·,.We may also
CommonweaHh of the               Austin, TX 73301               Line 3. Enter your current address. If you use a P.O.            disclose this Information to other countrlllS under a
Northam Mariana Islands,                                        box, please Include it on this line 3.                           tax treaty, to federal and state agencies to enforce
the U.S. Virgin Islands, or                                     Line 4. Enter the address shown on the last return               lederal nonta)( criminal laws, or to federal Jaw
A P.O. or F.P .0. address                                       filed i1 different from the address entered on line 3•.          enforcement and intelligence agencies to combat
                                                                                                                                 terrorism.
Alaska, Arizona,                                                Note: If the addresses on lines 3 and 4 are different
Arkansas, Cafijomla,                                            end you have not changed your oddress with the                       You are not required to provide the Information
Colorado, Hawaii, Idaho,                                        IRS, tue Form 8822, Change of Address. For a                     requested on a form that Is sublect to the Papmwork
Illinois, Indiana, Iowa,                                        business address, file Form 6822-B, Change of                    Reductloq Act unless the form displays a valid OMB
Kansas, Michigan,                Internal Revenue Service       Address or Responsible Party - Business.                         control number. Books or records relating to a form
Minnesota, Montana,              RAIVS Team                                                                                      or Its Instructions must be retained as long as their
                                                                Signature and date. Form 4506 must be signed and                 contents may become material In lho administration
Nebraska, Nevada, New            Stop 37106                     daled by the taxpayer listed on llne 1a or 2a, The
Mexico, North Dakota,            Fresno, CA 93888                                                                                of any Internal Revenue law. Generally, lax returns
                                                                JRS must receive Forrn 4506 wlthl~ 120 days of the               and rerum Information are confidential, as required
Oklahoma, Oregon,                                               date signed by the taxpayer or It will be rejec1ed. ·
South Dakota, Utah,                                                                                                              by section 6103.
                                                                Ensure that all applicable lines are completed before
Washington, Wisconsin,                                                                                                               The time needed to complete and Ilia Form 4506




                                                                m
                                                                signing.
Wyoming                                                                                                                          will vary depending on Individual circumstances. The
                                                                                You :musl ehook- lbebax fn :thr~                 estimated average time is: Learning about the law
Connecticut,                                                                                                                     or the fonn, 10 min.; Preparing the fonn, 16 min.;
Delaware, District of                                                           l!lflnill~itYa~to._qtKt:~Wifl~O&ft.u
                                                                                                                                 and Copying, assembling, and sending the form
Columbia, Florida,                                                            lmvll.lflfl qvlh.Orlty '~ :S1Qrr<lfl(f.re$jllost   to the IRS, 20 min.                        ·
Georgia, Maine,                                                               flreln/Ormot/(ln, nifilorm will nat'bo
Maryland,                                                       proces..~ad and retum6d to you if the box Is
                                                                                                                                     If you h~ve comments concomtnull10 accuracy of
                                lntemol Revenue Service                                                                          these Umo ostlmates or suggestions for making
Massachusetts,                  RAJVSTeam                       unchecked.
Missouri, New                                                                                                                    Form 4506 simpler, we would be happy to hear from
                                Stop 6705 P-6                     /ndlviduols. Copies of Jointly flied tax returns may           you. You can write to:
Hampshire, New Jersey,          Kansas City, MO
New York, North                                                 be furnished to e~her spouse. Only one signature is                  Internal Revenue Service
                                64999                           required. Sign F04'm ~506 axactly as your name
Carolina, Ohio,                                                                                                                      Tax Forms and Publications Division
Pennsylvania, Rhode                                             appoa'red on the onglnnJ roturn. If you changed your                 1111 Constitution Ave. NW, IR-6526
Island, South Carolina,                                         name, also sign your current name.                                   Washington, DC 20224.
Vermont, Vlrginle, West
Virginia                                                                                                                          Do not send the form to this address. Instead, see ·
                                                                                                                                 Wh9re to fl/fJ on this page.




                                                                                 Attachment C to TRO
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                CONSENT TO RELEASE FINANCIAL RECORDS



        I,                                  of                             , (City,
 State), do hereby direct any bank, saving and loan association, credit union,
 depository institution, finance company, commercial lending company, credit card.
 processor, credit card processing entity, automated clearing house, network
 transaction processor, bank debit processing entity, automated clearing house,
 network transaction processor, bank debit processing entity, brokerage house,
 escrow agent, money market or mutual fund, title company, commodity trading
 company, trustee, or person that holds, controls, or maintains custody of assets,
 wherever located, that are owned or controlled by me or at which there is an
 account of any kind upon which I am authorized to draw, and its officers,
 employees, and agents, to disclose all information and deliver copies of all
 documents of every nature in its possession or control which relate to the said
 accounts to any attorney of the Federal Trade Commission, and to give evidence
 relevant thereto, in the matter of Federal Trade Commission v. Ecological Fox
 LLC eta/., now pending in the United States District Court of Maryland, and this
 shall be irrevocable authority for so doing. -

       This direction is intended to apply to the laws of countries other than the
 United States of America which restrict or prohibit disclosure of bank or other
 financial information without the consent of the holder of the account, and shall be
 construed as consent with r~spect hereto, and the same shall apply to any of the
 accounts for which I may be a relevant principal.



 Dated:- - - - - - -             Signature:_-'---~~"'--------­
                                 Printed N arne:
                                                    ~---~~--------




                                    Attachment D to TRO
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                                     Cryptocurrency Financial Statement



 Full Name: - - - - - - - - - - - - -                       Social Security Number: _ _ _ _ _ __



 When an Item asks for information regarding your cryptocurrency, include ALL cryptocurrency, whether
 held in the United s·tates or in any foreign country or territory, or institutio~, whether held individually
 or jointly, and whether held by you, your spouse, or any of your dependents, or held by others for the
 benefit or you, your spouse, or any of your dependents.

 This Cryptocurrency Financial Statement does NOT request information necessary to transfer, dispose
 of, or otherwise exert control over the cryptocurrency.

 Place your initial in the bottom right corner of each page. If you need additional space, attach a page to
 this form and note the item to which the information is responsive and place your initial in the bottom
 right corner of each page you add.

 Item 1.

 For all your cryptocurrency, state the following:
          a. The type of cryptocurrency;
          b. The amount of cryptocurrency and its current value;
          c. The location and method of storage of the private keys necessary to exert control over the
              cryptocurrency (e.g. third party custodian, web wallet, hardware wallet, personal computer,
              handwritten document, etc.), and if applicable, the name and manufacturer of any software
              or hardware storage methods;
          d. Any public addresses or public keys associated with the cryptocurrency; and
          e. The owners of your cryptocurrency and the percentage of ownership of each owner.




                                              Attachment E to TRO
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                                                                                         Initial: _ __
  Item 2.

 For all cryptocurrency for which you have possession or access to the private key, excluding your
 cryptocurrency disclosed in Item 1, state the following:
          a. The type of cryptocurrency;
          b. The amount of cryptocurrency and its current value;
          c. The location and method of storage of the private keys necessary to exert control over the
              cryptocurrency (e.g. third party custodian, web wallet, hardware wallet, personal computer,
              handwritten document, etc.), and if applicable, the name and manufacturer of any software
              or hardware storage methods;
          d. Any public addresses or public keys associated with the cryptocurrency; and
          e. The owners of the cryptocurrency and the percentage of ownership of each owner.




                                                                                         Initial! _,_ _~




                                            Attachment E to TRO
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 Item 3.

 List each person or entity to whom you, your spouse, or any of your dependents have transferred, in the
 aggregate, more than $5,000 worth of cryptocurrency within the last five years, the value of the
 cryptocurrency transferred, the reason for the transfer, and the date of the transfer.




                                            Attachment E to TRO
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                                                                                         Initial: _ __

 Item 4.

 List each person or entity from whom you, your spouse, or any of your dependents have received, in
 the aggregate, more than $5,000 worth of cryptocurrency within the last five years, the value of the
 cryptocurrency transferred, the reason for the transfer, and the date of the transfer.




                                           Attachment E to TRO
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                                                                                           Initial! ,...,,.....___,.

 Item 5.

 List all security interests held In any of your cryptocurrency disclosed in response to Item 1, the name
 and address of the holder of the security interest, and the amount of the security interest, and the date
 the security interest was placed upon the the cryptocurrency.




                                             Attachment E to TRO
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                                                                                           Initial:
                                                                                                      - --
          I am submitting this financial statement with the understanding that it may affect action by the
 Federal Trade Commission or a federal court. I have used my best efforts to obtain the Information ·
 requested In this statement. The responses I have provided to the items above are true and contain all
 the requested facts and information of which I have notice or knowledge. I know of the penalties for
 false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
 and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing Is
 true and correct.



 Executed on:
                - ------
                (Date)
                                                  Signature: - - - - - - - - - - - - - -


                                                  Printed name t _ _ _ _ _ __ _ _ _ _ _____,




                                             Attachment E to TRO
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                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND



  FEDERAL TRADE COMMISSION                                  Civil Action No. 1: 18-cv-03309-PJM

                        Plaintiff,
                                                            ORDER AMENDING EX PARTE
      v.                                                    TEMPORARY RESTRAINING ORDER

 ECOLOGICAL FOX, LLC, et al.

                        Defendants/Relief
                        Defendants.


           On November 5, 2018, this Court entered its EX PARTE TEMPORARY RESTRAINING

ORDER WITH ASSET FREEZE, WRITS NE EXEAT, APPOINTMENT OF A TEMPORARY

RECEIVER, AND OTHER EQUITABLE RELIEF, AND ORDER TO SHOW CAUSE WHY A

PRELIMINARY INJUNCTION SHOULD NOT ISSUE ("Order"). The Order is hereby amended as

to Defendant Atlantic International Bank, Ltd. only.

           It is hereby ordered:

           With regard to Defendant Atlantic International Bank, Ltd. only, Section III of the Order is

deleted and replaced as follows:

                                         III.    ASSET FREEZE

           IT IS FURTHER ORDERED that Defendant Atlantic International Bank, Ltd., and its

officers, agents, employees, and attorneys, and all other persons in active concert or participation with

any of them, who receive actual notice of this Order, whether acting directly or indirectly, are hereby

temporarily restrained and enjoined from:

           A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

lien or security interest or other interest in, or otherwise disposing of any Assets that are:

                   1.      owned or controlled, directly or indirectly, by any other Defendant or




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                          any Relief Defendant;

                 2.       held, in part or in whole, for the benefit of any other Defendant or any

                          Relief Defendant;

                 3.       in the actual or constructive possession of any other Defendant or any

                          Relief Defendant;

                 4.       owned or controlled by, controlled or managed by, under common

                          control with, in the actual or constructive possession of, or otherwise

                          held for the benefit of, any corporation, partnership, asset protection

                          trust, HYCET trust, or other entity that is directly or indirectly owned,

                          managed or controlled by any other Defendant or any Relief Defendant;

                 5.       transferred from any other Defendant or any Relief Defendant without

                          adequate consideration, or for the primary purpose of shielding the Asset

                          from any creditor;

                 6.       transferred to Atlantic International Bank, Ltd. by any consumer as

                          payment of interest, fees or compensation in connections with any loan

                         made or service provided by Atlantic International Bank, Ltd. relating

                         to the Sanctuary Belize Enterprise ("SBE").

         Except as expressly set forth above, Assets that Atlantic International Bank, Ltd. holds or

controls for others (such as depositors or account holders), or for its own account, are not covered by

this Order.

        Providedfurther, that any and all transfers of funds by Atlantic International Bank, Ltd.

while this Order is in effect will be limited to transactions in the ordinary course of business.

        Provided further, that for a period of ten (I 0) business days, commencing with the entry of

this Court's original Order on Monday, November 5, 2018, Atlantic International Bank, Ltd. shall

maintain a minimum balance of USD $I 0 million of invested funds and/or cash, free and clear of

any


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 liens or encumbrances, in its Wells Fargo brokerage account located in the United States.

         Provided, further, at any time, a Relief Defendant may request, in writing and with

 supporting documentation if appropriate, that the Receiver determine whether the Relief Defendant's

Assets affected by this Section exceed the amount necessary to satisfy a judgment in favor of the FTC

and against the Relief Defendant in the amount of the applicable Relief Defendant Limitation

Amount. The Receiver will respond as soon as practical, and if the Receiver determines that

sufficient Assets exist, then the Receiver shall determine, in its sole discretion, which of the Relief

Defendant's Assets to exclude from this Section. In that event, the Receiver shall promptly advise

Relief Defendant in writing and in a form suitable to present to third parties holding the Relief

Defendant's Assets. Additionally: (a) Both the Relief Defendant and Receiver will copy the FTC on

all correspondence exchanged concerning requests to exclude Assets; (b) if a Relief Defendant and

one or more Defendants have joint control over an Asset, or the Asset is held for the benefit of a

Defendant by a Relief Defendant the Receiver will not count that Asset as an Asset available to

satisfy the Relief Defendant Limitation Amount; and (c) if one or more Relief Defendants have joint

control over an Asset, the Receiver will not count that Asset as an Asset available to satisfy any

Relief Defendant's Limitation Amount unless all affected Relief Defendants agree in writing.

        B.        Opening or causing to be opened any safe deposit boxes, commercial mail boxes, or

storage facilities titled in the name of any other Defendant or subject to access by any other

Defendant, except as necessary to comply with written requests from the Receiver acting pursuant to

its authority under this Order;

        C.       Incurring charges or cash advances on any credit, debit, or ATM card issued in the

name, individually or jointly, of any Receivership Entity (which includes any corporation, partnership,

or other entity directly or indirectly owned, managed, or controlled by any Individual Defendant) or

other corporate, partnership, or other entity of which any Individual Defendant is an officer, director,

member, or manager. This includes any corporate bankcard or corporate credit card account for which




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 any Individual Defendant is, or was on the date that this Order was signed, an authorized signor. This

 provision is included for clarity, because such conduct would also violate Paragraph A.; or

         D.       Cashing any checks or depositing any money orders or cash received from

consumers, clients, or customers of any Receivership Entity.

         Provided, however, the Assets affected by this Section shall include only: (1) all Assets of

Defendants (not including Assets of, or held by, Atlantic International Bank, Ltd. unless expressly

included in paragraph A, above) and Relief Defendants as ofthe time this Order is entered; and (2)

Assets obtained by Defendants and Relief Defendants after this Order is entered if those Assets are

derived from any activity described in the Findings of Fact in this Order or that is prohibited by this

Order. This Section does not prohibit any transfers to the Receiver or repatriation of foreign Assets

specifically required by this order.

        It is further Ordered:

        With regard to Defendant Atlantic International Bank, Ltd. only, Section VI of the Order is

hereby deleted and replaced as follows:

                            VI.        FOREIGN ASSET REPATRIATION

        IT IS FURTHER ORDERED that within five (5) days following the service of this amended

Order, Defendant Atlantic International Bank, Ltd. shall:

        A.       Provide FTC counsel and the Receiver with a full accounting, verified under oath and

accurate as of the date of this Order, of all Assets, Documents, and accounts outside of the United

States which are: (1) subject to the asset freeze in Section III, above; (2) titled in the name,

individually or jointly, of any other Defendant; (3) held by any person or entity for the benefit of any

other Defendant or for the benefit of, any corporation, partnership, asset protection trust, or other

entity that is directly or indirectly owned, managed or controlled by any other Defendant; or (4) under

the direct or indirect control, whether jointly or singly, of any other Defendant; and

        B.      Transfer to the territory of the United States all Documents and Assets: (1) subject to




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 the asset freeze in Section III, above; (2) titled in the name, individually or jointly, of any other

 Defendant; (3) held by any person or entity for the benefit of any other Defendant or for the benefit of,

 any corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

 managed or controlled by any other Defendant; or (4) under the direct or indirect control, whether

jointly or singly, of any other Defendant.

         The same business day as any repatriation, (1) notify the Receiver and FTC counsel of the

 name and location of the financial institution or other entity that is the recipient of such Documents or

 Assets; and (2) serve this Order on any such financial institution or other entity.

         It is further Ordered:

         This amended Order is entered without prejudice or waiver of any argument or defense that

J?efendant Atlantic International Bank, Ltd. may have, including, without limitation, any argument or

defense that the court lacks personal jurisdiction over Atlantic International Bank, Ltd., that venue is

improper, on the merits, and/or that no Assets of Atlantic International Bank, Ltd. should be frozen in

this matter.

         It is further Ordered:

         Except as set forth above, the Order entered on November 5, 2018 is and shall remain in effect

until further order of this Court.

         So ordered this 12 day ofNovember, 2018.



                                           Is Paula Xinis
                                           UNITED STATES DISTRICT JUDGE




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